     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 1 of 75



 1   WILLIAM A. ISAACSON
     BOIES, SCHILLER & FLEXNER LLP
 2   5301 Wisconsin Ave. NW, Suite 800
     Washington, DC 20015
 3   Telephone: (202) 237-2727
     Facsimile: (202) 237-6131
 4   Email: wisaacson@bsfllp.com
 5   PHILIP J. IOVIENO
     ANNE M. NARDACCI
 6   BOIES, SCHILLER & FLEXNER LLP
     30 South Pearl Street, 11th Floor
 7   Albany, NY 12207
     Telephone: (518) 434-0600
 8   Facsimile: (518) 434-0665
     Email: piovieno@bsfllp.com
 9   Email: anardacci@bsfllp.com
10   Counsel for Plaintiffs P.C. Richard & Son Long Island Corporation, MARTA Cooperative of
     America, Inc., and ABC Appliance, Inc.
11
                                  UNITED STATES DISTRICT COURT
12                              NORTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION
13

14   IN RE CATHODE RAY TUBE (CRT)                     Case No. 13-cv-05725-SC
     ANTITRUST LITIGATION
15                                                Master File No. 3:07-cv-05944-SC
     This Document Relates To Individual Case No.
16   13-cv-05725-SC                               MDL No. 1917
17   P.C. RICHARD & SON LONG ISLAND
     CORPORATION; MARTA COOPERATIVE                   FIRST AMENDED COMPLAINT
18   OF AMERICA, INC., and ABC APPLIANCE,
     INC.,                                            JURY TRIAL DEMANDED
19
               Plaintiffs,
20
        vs.
21
     TECHNICOLOR SA (f/k/a THOMSON SA),               REDACTED VERSION OF DOCUMENT
22   TECHNICOLOR USA, INC. (f/k/a                     SOUGHT TO BE PARTIALLY SEALED
     THOMSON CONSUMER ELECTRONICS,
23   INC.), VIDEOCON INDUSTRIES, LTD.,
     TECHNOLOGIES DISPLAYS AMERICAS
24   LLC (f/k/a THOMSON DISPLAYS
     AMERICAS LLC), MITSUBISHI ELECTRIC
25   CORPORATION, MITSUBISHI ELECTRIC
     VISUAL SOLUTIONS AMERICA, INC., and
26   MITSUBISHI ELECTRIC & ELECTRONICS
     USA, INC.,
27
               Defendants.
28
                                                                                   Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED COMPLAINT                        Master File No. 3:07-cv-05944-SC
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 2 of 75



 1           Plaintiffs P.C. Richard & Son Long Island Corporation (“P.C. Richard”), MARTA
 2   Cooperative of America, Inc. (“MARTA”), and ABC Appliance, Inc. d/b/a ABC Warehouse
 3   (“ABC Warehouse”) (collectively, “Plaintiffs”), for their Complaint against all Defendants
 4   named herein, hereby allege as follows:
 5   I.      INTRODUCTION
 6           1.      Plaintiffs bring this action to recover those damages caused to them by a long-
 7   running conspiracy extending from at least March 1, 1995, through at least November 25, 2007
 8   (the “Relevant Period”), conducted by an international cartel formed by Defendants and their
 9   co-conspirators. The purpose and effect of this conspiracy was to fix, raise, stabilize and
10   maintain prices for cathode ray tubes (“CRTs”).
11           2.      Defendant Technicolor SA, which during the Relevant Period was known as
12   Thomson SA, has admitted that it participated in the conspiracy to fix the prices of CRTs. In
13   its 2011 Annual Report to shareholders, Technicolor SA stated that it “played a minor role in
14   the alleged anticompetitive conduct [regarding CRTs].”          While Plaintiffs dispute that
15   Technicolor SA’s role in the conspiracy was minor, whatever that may mean, and believes that
16   discovery in this case to date has demonstrated and further discovery will demonstrate
17   Technicolor SA’s role was substantial, there is no dispute that Technicolor SA participated in
18   fixing the prices of CRTs. Following an investigation lasting four years, in December 2012 the
19   European Commission levied a fine of €38.6 million against Technicolor SA for participating
20   in a conspiracy to fix CRT prices. In its 2012 Annual Report, Technicolor SA acknowledged
21   that “[f]ollowing the European Commission decision, purchasers may bring individual claims
22   against the Company seeking compensation for alleged loss suffered as a result of the anti-
23   competitive conduct.”
24           3.      Defendants and their co-conspirators are or were among the leading
25   manufacturers of: (a) color picture tubes (“CPTs”), which are CRTs used primarily in color
26   televisions; (b) color display tubes (“CDTs”), which are CRTs used primarily in color computer
27   monitors; and (c) electronic devices containing CPTs (such as televisions) or CDTs (such as
28   computer monitors). For the purposes of this Complaint, CPTs of all sizes and the products
                                                                                    Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED         -1-                       Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 3 of 75



 1   containing them shall be referred to collectively as “CPT Products.” Also for the purposes of
 2   this Complaint, CDTs of all sizes and the products containing them shall be referred to as “CDT
 3   Products.” CDT Products and CPT Products shall be referred to collectively herein as “CRT
 4   Products.”
 5           4.         During the Relevant Period, Defendants and their co-conspirators controlled the
 6   majority of the CRT industry, a multibillion dollar market, which in 1999 alone generated over
 7   $19 billion dollars in gross revenue. During the Relevant Period, virtually every household in
 8   the United States owned at least one CRT Product.
 9           5.         Since the mid-1990s, the CRT industry faced significant economic pressures as
10   customer preferences for other emerging technologies shrank profits and threatened the
11   sustainability of the industry. In order to maintain price stability, increase profitability, and
12   decrease the erosion of pricing in the CRT market, Defendants and their co-conspirators
13   conspired, combined and contracted to fix, raise, maintain and stabilize the price at which CRTs
14   were sold in the United States.
15           6.         With respect to CRTs, Defendants, their co-conspirators and/or their agents
16   agreed, inter alia, to: (a) fix target prices and price guidelines; (b) exchange pertinent
17   information on, inter alia, shipments, prices, production and customer demand; (c) coordinate
18   public statements regarding available capacity and supply; (d) resolve issues created by
19   asymmetrical vertical integration among some of the co-conspirators; (e) keep their collusive
20   meetings secret; (f) expose cheating on the agreements and to discuss the reconciliation of
21   accounts; (g) allocate market share of overall sales; (g) influence and, at times, coordinate
22   pricing with producers in other geographic areas; (h) limit competition for certain key customers;
23   (i) allocate customers; (j) allocate each producer’s share of certain key customers’ sales; and (k)
24   restrict output.
25           7.         The conspiracy concerning CRTs commenced with bilateral meetings that began
26   in at least March of 1995 and continued throughout the Relevant Period. Also beginning in
27   1995, the co-conspirators began to engage in informal group meetings. By 1997, these group
28   meetings had become more formalized, as described in greater detail below. There were at least
                                                                                       Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED            -2-                       Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 4 of 75



 1   500 conspiracy meetings during the Relevant Period, including hundreds of group meetings and
 2   hundreds of bilateral meetings. These meetings occurred in various locales, including Taiwan,
 3   South Korea, Indonesia, Thailand, Singapore, Malaysia, China, the U.K., Europe, and the United
 4   States.    These meetings included representatives from the highest levels of the respective
 5   companies, as well as regional managers and others.
 6             8.    During the Relevant Period, the conspiracy affected billions of dollars of
 7   commerce throughout the United States.
 8             9.    This conspiracy is being investigated by the United States Department of Justice
 9   (“DOJ”) and by multiple foreign competition authorities, including the European Commission,
10   the Korean Fair Trade Commission, and the Japan Fair Trade Commission. Technicolor USA,
11   Inc. (f/k/a Thomson Consumer Electronics, Inc.) was subpoenaed by the DOJ in connection with
12   its investigation of CRT price-fixing. Technicolor SA is the subject of an investigation by the
13   Mexican Federal Competition Commission, and its affiliate in Brazil is under investigation by
14   the Brazilian Ministry of Justice for fixing the prices of CRTs. The first participant to be
15   indicted by the DOJ was C.Y. Lin, the former Chairman and CEO of co-conspirator Chunghwa
16   Picture Tubes, Ltd., who had a two-count indictment issued against him by a federal grand jury
17   in San Francisco on February 10, 2009. Since then, five more individuals have been indicted in
18   connection with Defendants’ CRT price-fixing conspiracy.
19             10.   In March 2011, co-conspirator Samsung SDI Company, Ltd. (“Samsung SDI”)
20   pleaded guilty to fixing the prices of CDTs during at least the nine-year period from January
21   1997 to March 2006. Samsung SDI paid a criminal fine to the United States of $32 million. The
22   conspiracy to which Samsung SDI pleaded guilty was agreeing with its competitors and co-
23   conspirators to raise the prices of CDTs, to reduce output of CDTs, and to allocate target market
24   shares for the CDT market overall and for certain customers.
25             11.   During the Relevant Period, Plaintiffs purchased CRT Products in the United
26   States and elsewhere directly and indirectly from Defendants, and/or Defendants’ subsidiaries
27   and affiliates and/or any agents Defendants or Defendants’ subsidiaries and affiliates controlled.
28   Plaintiffs thus suffered damages as a result of Defendants’ conspiracy, and bring this action to
                                                                                      Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED          -3-                        Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 5 of 75



 1   recover the overcharges paid for the CRT Products containing price-fixed CRTs it purchased
 2   during the Relevant Period.
 3             12.   This case is related to and concerns the same anti-competitive conspiracy and
 4   many of the same transactions and events that are presently pending in P.C. Richard & Son Long
 5   Island Corporation, et al. v. Hitachi, Ltd., et al. Individual Case No. 11-cv-05530-JBW-VVP
 6   filed in this Court and presently pending before the Honorable Samuel Conti in the Northern
 7   District of California (Individual Case No. 3:12-cv-02648-SC, Master File No. 3:07-cv-05944-
 8   SC, MDL No. 1917). Both this case and P.C. Richard & Son Long Island Corporation, et al. v.
 9   Hitachi, Ltd., et al. are suits for damages arising out of the conspiracy to fix the prices of and
10   restrain competition for CRTs in violation of the federal antitrust laws and state antitrust and
11   unfair competition laws.
12   II.       JURISDICTION AND VENUE
13             13.   Plaintiffs bring this action to obtain injunctive relief under Section 16 of the
14   Clayton Act; and to recover damages, including treble damages under Section 4 of the Clayton
15   Act, costs of suit and reasonable attorneys' fees arising from Defendants' violations of Section 1
16   of the Sherman Act (15 U.S.C. § 1).
17             14.   Plaintiffs also bring this action pursuant to various state laws listed herein because
18   Plaintiffs purchased CRT Products from both Defendants and non-defendant vendors which
19   contained price-fixed CRTs manufactured by Defendants and their co-conspirators in those
20   states.
21             15.   The Court has subject matter jurisdiction pursuant to Sections 4 and 16 of the
22   Clayton Act (15 U.S.C. §§ 15 and 26) and 28 U.S.C. §§ 1331 and 1337. The Court has
23   supplemental jurisdiction over Plaintiffs' state law claims listed herein under 28 U.S.C. § 1367
24   because they arise from the same nucleus of operative facts alleged in this Complaint. Plaintiffs'
25   state law claims are so related to their claims under Section 1 of the Sherman Act that they form
26   part of the same case or controversy.
27             16.   The activities of Defendants and their co-conspirators, as described herein,
28   involved U.S. import trade or commerce and/or were within the flow of, were intended to, and
                                                                                         Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED            -4-                         Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 6 of 75



 1   did have a direct, substantial and reasonably foreseeable effect on Unites States domestic and
 2   import trade or commerce. This effect gives rise to Plaintiffs' antitrust claims. During the
 3   Relevant Period, Defendants' conspiracy affected the price of CRT Products purchased in the
 4   United States.        In particular, Defendants' and their co-conspirators' conspiracy directly and
 5   substantially affected the price of CRT Products purchased by Plaintiffs in the states identified
 6   herein.
 7             17.    This court has jurisdiction over each Defendant named in this action under
 8   Section 12 of the Clayton Act (15 U.S.C. § 22). Defendants and their co-conspirators purposely
 9   availed themselves of the laws of the United States as they manufactured CRT Products for sale
10   in the United States, or CRTs which were incorporated into CRT Products Defendants and their
11   co-conspirators knew would be sold to customers in the United States. Defendants' and their co-
12   conspirators' conspiracy affected this commerce in CRT Products in the United States.
13             18.    Venue is proper in the Eastern District of New York under Section 12 of the
14   Clayton Act (15 U.S.C. § 22) and 28 U.S.C. § 1391 because each Defendant is either an alien
15   corporation, transacts business in this District, or is otherwise found within this District. In
16   addition, venue is proper in this District under 28 U.S.C. § 1391 because a substantial part of the
17   events or omissions giving rise to this claim occurred in this District. Defendants and their co-
18   conspirators knew that CRT Products containing price-fixed CRTs would be sold and shipped
19   into this District.
20   III.      PARTIES
21             A.     Plaintiffs
22                    1.        P.C. Richard
23             19.    Plaintiff P.C. Richard is a New York corporation with its corporate headquarters
24   in Farmingdale, New York.              P.C. Richard is the largest chain of private, family-owned
25   electronics and appliances stores in the United States with 65 stores in Connecticut, New York,
26   New Jersey, and Pennsylvania, as well as an online retail store. Through the conclusion of
27   Defendants’ and the co-conspirators’ conspiracy, P.C. Richard was a supplier of consumer
28   electronics and appliances.
                                                                                        Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED              -5-                      Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 7 of 75



 1           20.     During the Relevant Period, P.C. Richard purchased CRT Products directly from
 2   the Defendants, and/or the Defendants’ subsidiaries and affiliates and/or any agents the
 3   Defendants or Defendants’ subsidiaries and affiliates controlled. P.C. Richard also purchased
 4   CRT Products from original equipment manufacturers (“OEMs”), as well as other suppliers,
 5   which contained CRTs that had been purchased from Defendants and their co-conspirators. As
 6   such, P.C. Richard suffered injury as a result of Defendants’ and co-conspirators’ unlawful
 7   conduct.
 8           21.     During the Relevant Period, P.C. Richard’s negotiations for the purchase of CRT
 9   Products took place in the United States and were controlled by a department based at the
10   company’s headquarters in New York. In addition, P.C. Richard’s purchase orders for CRT
11   Products were issued from New York, invoices for these CRT Products were sent to P.C.
12   Richard in New York, and payments for these CRT Products were issued from New York. P.C.
13   Richard employees based in New York were also responsible for selecting vendors and product
14   lines with respect to CRT Products.
15                   2.       MARTA
16           22.     Plaintiff MARTA is a Michigan corporation and has its corporate headquarters in
17   Scottsdale, Arizona. MARTA was initially formed in 1965 by twelve independent appliance and
18   electronics retailers as a member-owned, not-for-profit, buying cooperative serving a select
19   group of retailers in the appliance and electronics industry. Through the conclusion of
20   Defendants’ and the co-conspirators’ conspiracy, MARTA was a buying group comprised of
21   larger, independent retailers selling appliances, electronics and furniture.
22           23.     During the Relevant Period, MARTA purchased CRT Products directly from the
23   Conspirators, including Defendants, and/or the Defendants’ subsidiaries and affiliates and/or any
24   agents the Defendants or Defendants’ subsidiaries and affiliates controlled.                MARTA also
25   purchased CRT Products from OEMs, as well as other suppliers, which contained CRTs that had
26   been purchased from Defendants and their co-conspirators. As such, MARTA suffered injury as
27   a result of Defendants’ and co-conspirators’ unlawful conduct.
28           24.     During the Relevant Period, MARTA’s negotiations for the purchase of CRT
                                                                                            Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED            -6-                            Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 8 of 75



 1   Products took place in the United States and were controlled by a department based at the
 2   company’s headquarters in Arizona. In addition, MARTA’s purchase orders for CRT Products
 3   were issued from Arizona, invoices for these CRT Products were sent to MARTA in Arizona,
 4   and payments for these CRT Products were issued from Arizona and Illinois.                   From its
 5   headquarters in Arizona, MARTA selected vendors and product lines with respect to CRT
 6   Products.
 7                   3.       ABC Warehouse
 8           25.     Plaintiff ABC Warehouse is a Michigan corporation with its corporate
 9   headquarters in Pontiac, Michigan. ABC Warehouse was founded in 1963 as a family-owned
10   appliance and electronics retailer.    Through the conclusion of Defendants’ and the co-
11   conspirators’ conspiracy, ABC Warehouse was a supplier of consumer electronics and
12   appliances with approximately 60 stores in Michigan, Ohio, and Indiana, as well as an online
13   retail store.
14           26.     During the Relevant Period, ABC Warehouse purchased CRT Products directly
15   from the Defendants, and/or the Defendants’ subsidiaries and affiliates and/or any agents the
16   Defendants or Defendants’ subsidiaries and affiliates controlled. As such, ABC Warehouse
17   suffered injury as a result of Defendants’ and co-conspirators’ unlawful conduct.
18           27.     During the Relevant Period, ABC Warehouse’s negotiations for the purchase of
19   CRT Products took place in the United States and were controlled by a department based at the
20   company’s headquarters in Michigan. In addition, all ABC Warehouse purchase orders for CRT
21   Products were issued from Michigan, invoices for these products were sent to ABC Warehouse
22   in Michigan, and payments for these CRT Products were issued from ABC Warehouse in
23   Michigan. ABC Warehouse employees based in Michigan were also responsible for selecting
24   vendors and product lines with respect to CRT Products.
25           B.      Defendants
26                   1.       Thomson Entities
27           28.     Defendant Thomson SA (now known as Technicolor SA) (“Thomson SA”) is a
28   French Corporation with its principal place of business located at 1-5 Rue Jeanne d’Arc 92130
                                                                                      Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED          -7-                        Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 9 of 75



 1   Issy-les-Moulineaux, France. Thomson SA, on its own or through its wholly owned subsidiary
 2   Thomson Consumer Electronics, Inc., and other subsidiaries, was a major manufacturer of CRTs
 3   for the United States market, with plants located in the United States, Mexico, China and Europe.
 4   Thomson SA sold its CRTs internally to its television-manufacturing division, which had plants
 5   in the United States and Mexico, and to other television manufacturers in the United States and
 6   elsewhere. For much of the Relevant Period, the television manufacturing division of Thomson
 7   SA manufactured and sold in the United States CRT televisions under the RCA and GE brands.
 8   In July 2005, Thomson SA sold its CRT business to defendant and co-conspirator Videocon
 9   Industries, Ltd. for €240 million. Simultaneously, Thomson SA invested a total of €240 million
10   in Videocon, comprised of a €225 million investment in Videocon Industries, Ltd. and a €15
11   million investment in Videocon International, and acquired 13.1% of Videocon Industries, Ltd.
12   The agreement with Videocon provided that Thomson management would help Videocon run the
13   CRT business during the transition period and beyond. Videocon and Thomson also agreed to
14   set up Preferred Supplier Agreements for Thomson’s display components business. Thomson
15   SA also received at least one seat on Videocon’s board of directors when it invested in Videocon
16   Industries, Ltd.    Thomson SA maintained at least a 10% ownership interest in Videocon
17   Industries, Ltd. for the remainder of the Relevant Period.      In January 2010, Thomson SA
18   changed its name to Technicolor SA. During the Relevant Period, Thomson SA manufactured,
19   marketed, sold and/or distributed CRT Products, either directly or through its subsidiaries or
20   affiliates, to customers throughout the United States.
21           29.     Defendant Thomson Consumer Electronics, Inc. (now known as Technicolor
22   USA, Inc.) (“Thomson Consumer”) is a United States corporation with its principal place of
23   business located at 10330 N Meridian St., Indianapolis, Indiana 46290-1024.                 Thomson
24   Consumer is a wholly owned subsidiary of Thomson SA and was Thomson SA’s primary
25   subsidiary for the manufacture and sales of CRTs in the United States during the Relevant
26   Period. Thomson Consumer was a major manufacturer of CRTs for the United States market,
27   with plants located in Scranton, Pennsylvania; Marion, Indiana; and Mexicali, Mexico.
28   Thomson Consumer sold its CRTs to television manufacturers in the United States, Mexico and
                                                                                     Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED           -8-                      Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 10 of 75



 1   elsewhere.     Thomson Consumer’s CRT business was sold by its parent Thomson SA to
 2   Videocon Industries, Ltd. in 2005. Simultaneously, Thomson Consumer’s parent company
 3   Thomson SA invested €240 million into Videocon Industries, Ltd. and obtained 13.1%
 4   ownership of Videocon Industries, Ltd.         Thomson SA also received at least one seat on
 5   Videocon’s board of directors when it invested in Videocon Industries, Ltd. The agreement with
 6   Videocon provided that Thomson management would help Videocon run the CRT business
 7   during the transition period and beyond. Videocon and Thomson also set up Preferred Supplier
 8   Agreements for Thomson’s displays components businesses. Thomson SA maintained at least a
 9   10% ownership interest in Videocon Industries, Ltd. throughout the Relevant Period. Thomson
10   Consumer was a parent corporation of its wholly owned subsidiary, Thomson Displays Americas
11   LLC (now known as Technologies Displays America, LLC).                  In January 2010, Thomson
12   Consumer Electronics, Inc. changed its name to Technicolor USA, Inc. During the Relevant
13   Period, Thomson Consumer manufactured, marketed, sold and/or distributed CRT Products
14   either directly or through its subsidiaries or affiliates throughout the United States.
15           30.     Defendant Thomson SA had sufficient minimum contacts with the United States
16   during the Relevant Period for it to be subject to personal jurisdiction in the United States.
17   Thomson SA purposefully availed itself of the United States market for CRTs and CRT
18   products. Thomson SA fixed prices and constrained competition on CRTs it and its wholly
19   owned subsidiary in the United States, Thomson Consumer, sold in the United States. Thomson
20   SA had significant contacts with the United States, and it dominated and/or controlled the
21   finances, policies, and/or affairs of its U.S.-based subsidiary, Thomson Consumer, relating to the
22   antitrust violations alleged in this Complaint. During the Relevant Period, Thomson SA was a
23   large multinational industrial and technology company.          Thomson SA was neither a mere
24   holding company nor a corporate shell, and its subsidiaries, including Thomson Consumer, were
25   more than simple investment mechanisms for diversifying risk. Thomson SA had a controlling
26   role in the operation of its subsidiaries and exercised a central management function over its
27   subsidiaries, including Thomson Consumer, which served the function of servicing the pivotal
28   U.S. CRT market. During the Relevant Period, between 40-50% of Thomson SA’s revenues
                                                                                          Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED            -9-                          Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 11 of 75



 1   were derived from the United States, and Thomson SA’s CEO described the United States as
 2   Thomson SA’s most important market. Thomson SA managed its business centrally, including
 3   that of U.S. subsidiary Thomson Consumer, and its management and board of directors set its
 4   policies and direction. Thomson SA employees oversaw the United States profits and losses
 5   associated with Thomson Consumer’s high-end and value TV businesses. Thomson SA also was
 6   involved in planning and purchasing discussions with U.S. CRT customers, Thomson SA had to
 7   approve the purchases made by U.S. customers, and Thomson SA was involved in CRT
 8   production and pricing discussions relating to CRTs manufactured in Mexico for the North
 9   American market. During the Relevant Period, many Thomson SA executives also served as
10   executives and/or board members of Thomson Consumer, and Thomson Consumer executives
11   served as executive officers of or directors of Thomson SA, including the Chairman and CEO of
12   Thomson SA who simultaneously served as the President and CEO of Thomson Consumer, and
13   thereafter as the Chairman of Thomson Consumer:
14   Name                      Role with Thomson SA               Role with Thomson Consumer
     Thierry Breton            Chairman and CEO (1997-2001);      President & CEO (1997-2000);
15                             Member, Board of Directors         Chairman (1997-2001)
                               (2002-2005)
16
     Olivier Mallet            Senior Vice President, Finance     Director (1999-2000)
17                             (1996-2000)
     Charles Dehelly           Senior Executive Vice President    Director (2002-2003)
18                             (1998-2000); Senior Executive
                               Vice President and COO (2001);
19                             CEO (2002-2004)
20   Julian Waldron            Senior Executive Vice President,   Director (2001-2007)
                               CFO (2001-2007); Interim CEO
21                             and Senior Executive Vice
                               President, CFO (2007-2008)
22   Frederic Rose             CEO (2008-present)                 Chairman (2012-present)
23   Moreover, numerous other Thomson SA “Executive Officers” had operational responsibilities in
24   the United States:      Jim Meyer was Senior Executive Vice President of SBUs Americas,
25   Multimedia Products and New Media Services; Al Arras was Executive Vice President of SBU
26   Audio and Communications; Michael O’Hara was Senior Vice President of SBU Americas; and
27   Enrique Rodriguez was Vice President of SBU Multimedia Products. All were stationed at
28   Thomson Consumer in Indianapolis, Indiana.
                                                                                     Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED          - 10 -                    Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 12 of 75



 1   Thomson SA and Thomson Consumer are collectively referred to herein as “Thomson.”
 2                   2.       Videocon
 3           31.     Defendant Videocon Industries, Ltd. (“Videocon”) is an Indian corporation with
 4   its principal place of business located at Aurangabad Paithan Road 14, KM Stone, Chitegaon,
 5   Aurangabad 431005, India. In 2005, Videocon acquired Thomson’s CRT business for €240
 6   million, which included facilities and personnel in the United States, Poland, Italy, Mexico and
 7   China. The deal for Videocon to acquire Thomson SA’s CRT business was completed through a
 8   special purpose vehicle, Eagle Electronics.        At the same time that Videocon purchased
 9   Thomson’s CRT business, Thomson SA invested a total of €240 million in Videocon, comprised
10   of a €225 million investment in Videocon Industries, Ltd. and a €15 million investment in
11   Videocon International, and acquired 13.1% of Videocon Industries, Ltd. The agreement with
12   Videocon provided that Thomson management would help Videocon run the CRT business
13   during the transition period and beyond. Videocon and Thomson also to set up Preferred
14   Supplier Agreements for Thomson’s displays components businesses. Thomson SA maintained
15   at least a 10% ownership interest in Videocon throughout the Relevant Period. Thomson SA
16   also received one or more seats on Videocon’s board of directors when it invested in Videocon.
17   Videocon’s purchase of Thomson’s CRT business included acquisition of Thomson Displays
18   Americas LLC (now known as Technologies Displays Americas, LLC) and its Mexican
19   subsidiary, Thomson Displays Mexicana, S.A. de C.V. (now known as Technologies Displays
20   Mexicana, S.A. de C.V.), including their facilities and personnel located in the United States,
21   through Videocon’s wholly owned investment entity located in the Cayman Islands, Eagle
22   Corporation Limited. Videocon manufactured CRTs for the United States market in Thomson’s
23   former CRT plants in Mexicali, Mexico and China. During the Relevant Period, Videocon
24   manufactured, marketed, sold and/or distributed CRT Products, either directly or indirectly
25   through its subsidiaries or affiliates, to customers throughout the United States.
26                   3.       Technologies Displays
27           32.     Defendant Technologies Displays Americas LLC (formerly Thomson Displays
28   Americas LLC) (“TDA”) is a Delaware limited liability company with its principal place of
                                                                                        Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED           - 11 -                      Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 13 of 75



 1   business located at 1778 Carr Road Ste 4B, Calexico, California 92231. TDA is a wholly owned
 2   subsidiary of Videocon. TDA acquired Thomson’s U.S. CRT assets in 2005 after a period of
 3   cooperation and transition with Thomson entities subsequent to and in connection with the
 4   purchase and sale in 2005. TDA was originally formed with its governing members represented
 5   equally from both Thomson and Videocon. TDA is owned by Eagle Corp., Ltd. Eagle Corp.,
 6   Ltd. became a wholly owned subsidiary of Videocon on December 31, 2005, after Videocon
 7   acquired the balance 81% equity stake in Eagle Corp., Ltd. Eagle Corp., Ltd. acquired TDA in
 8   September 2005. In August 2005, Thomson Consumer made a capital contribution to TDA in
 9   the form of a transfer of assets and contract rights related to TDA’s North American CRT
10   business. TDA is the parent corporation of its co-conspirator, Technologies Displays Mexicana,
11   S.A. de C.V., a Mexican corporation which during the Relevant Period manufactured CRTs and
12   sold the CRTs to TDA for sale and distribution.            During the Relevant Period, TDA
13   manufactured, marketed, sold and/or distributed CRT Products, either directly or indirectly
14   through its subsidiaries or affiliates, to customers throughout the United States. Defendants
15   Thomson and then Videocon dominated and/or controlled the finances, policies, and/or affairs of
16   TDA and its subsidiary Technologies Displays Mexicana, S.A. de C.V., relating to the antitrust
17   violations alleged in this Complaint.          Two high-level Thomson managers—Thomson’s
18   Managing Director of NAFTA Sales, Jack K. Brunk (“Brunk”), and Thomson’s General
19   Manager, James P. Hanrahan (“Hanrahan”)—transitioned to work for TDA after it acquired
20   Thomson’s CRT business. In addition, TDA referred to itself as a “Thomson” business after
21   Videocon’s acquisition of Thomson’s CRT business.            TDA and Technologies Displays
22   Mexicana, S.A. de C.V., are collectively referred to as “Technologies Displays.”
23                   4.       Mitsubishi Entities
24           33.     Defendant Mitsubishi Electric Corporation (“Mitsubishi Electric Japan”) is a
25   Japanese corporation located at Building 2-7-3, Marunouchi, Chiyoda-ku, Tokyo 100-8310,
26   Japan. Mitsubishi Electric Japan is a Fortune Global 500 Company that was ranked 214 in 2011
27   and that had combined net sales of over $44 billion in 2012. It has various subsidiaries operating
28   in the United States, Mexico, and Canada.         Mitsubishi Electric Japan and its subsidiaries
                                                                                      Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED           - 12 -                    Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 14 of 75



 1   manufactured CRTs in factories located in Japan, Taiwan, Mexico and Canada for sale in the
 2   United States.      These CRTs were sold internally to Mitsubishi’s television and monitor
 3   manufacturing division and to other television and monitor manufacturers in the United States
 4   and elsewhere. Mitsubishi’s television and monitor division also purchased CRTs from other
 5   CRT manufacturers.        During the Relevant Period, Mitsubishi Electric Japan manufactured,
 6   marketed, sold and distributed CRT Products in the United States.
 7           34.      Defendant Mitsubishi Electric & Electronics USA, Inc. (“Mitsubishi Electric
 8   USA”) is a United States corporation located at 5665 Plaza Drive, Cypress, California 90630.
 9   Mitsubishi Electric USA is a wholly-owned subsidiary of Mitsubishi Electric Japan. Mitsubishi
10   Electric USA manufactured CRTs for the United States market in plants located in Mexicali,
11   Mexico and Ontario, Canada. Mitsubishi Electric USA sold its CRTs internally to its television
12   and monitor manufacturing division and to other television and monitor manufacturers in the
13   United States and elsewhere. Mitsubishi’s television and monitor division also purchased CRTs
14   from other CRT manufacturers.          During the Relevant Period, Mitsubishi Electric USA
15   manufactured, marketed, sold and distributed CRT Products in the United States.
16           35.      Defendant Mitsubishi Electric Visual Solutions America, Inc. (f/k/a Mitsubishi
17   Digital Electronics America, Inc.) (“Mitsubishi Digital”) is a United States corporation located
18   at 9351 Jeronimo Road, Irvine, California          92618.   Mitsubishi Digital is a wholly-owned
19   subsidiary of Mitsubishi Electric Japan.      During the Relevant Period, Mitsubishi Digital
20   manufactured, marketed, sold and distributed CRT Products in the United States.
21           36.      Mitsubishi Electric Japan, Mitsubishi Electric USA and Mitsubishi Digital are
22   collectively referred to herein as “Mitsubishi.”
23           C.       Co-Conspirators
24           37.      Various persons and firms not named as Defendants in this Complaint
25   participated as co-conspirators in the violations alleged herein and performed acts and made
26   statements in furtherance of the conspiracy to fix, raise, stabilize and maintain prices for CRTs.
27   Many of these co-conspirators are named as defendants in the related case P.C. Richard & Son
28   Long Island Corporation, et al. v. Hitachi, Ltd., et al. Individual Case No. 11-cv-05530-JBW-
                                                                                       Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED          - 13 -                      Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 15 of 75



 1   VVP filed in the Eastern District of New York and presently pending before this Court
 2   (Individual Case No. 3:12-cv-02648-SC, Master File No. 3:07-cv-05944-SC, MDL No. 1917).
 3   Specific information regarding the identity of these co-conspirators and their participation in the
 4   CRT price-fixing conspiracy is set forth in the First Amended Complaint in P.C. Richard & Son
 5   Long Island Corporation, et al. v. Hitachi, Ltd., et al. (MDL Doc. No. 1979).
 6           38.     Co-conspirator Hitachi, Ltd. is a Japanese company with its principal place of
 7   business at 6-6, Marunouchi 1-chome, Chiyoda-ku, Tokyo, 100-8280, Japan. Hitachi, Ltd. is the
 8   parent company for the Hitachi brand of CRT Products. In 1996, Hitachi, Ltd.’s worldwide
 9   market share for color CRTs was 20 percent.                During the Relevant Period, Hitachi, Ltd.
10   manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
11   subsidiaries or affiliates, throughout the United States.
12           39.     Co-conspirator Hitachi Displays, Ltd. (“Hitachi Displays”) is a Japanese
13   company with its principal place of business located at 3300 Hayano, Mobara-shi, Chiba-ken,
14   297-8622, Japan. Hitachi Displays was originally established as Mobara Works of Hitachi, Ltd.
15   in Mobara City, Japan, in 1943. In 2002, all the departments of planning, development, design,
16   manufacturing and sales concerned with the display business of Hitachi, Ltd. were spun off to
17   create a separate company called Hitachi Displays.              During the Relevant Period, Hitachi
18   Displays manufactured, marketed, sold and/or distributed CRT Products, either directly or
19   through its subsidiaries or affiliates, throughout the United States. Co-conspirator Hitachi, Ltd.
20   dominated and controlled the finances, policies and affairs of Hitachi Displays relating to the
21   antitrust violations alleged in this complaint.
22           40.     Co-conspirator Hitachi America, Ltd. (“Hitachi America”) is a New York
23   company with its principal place of business located at 50 Prospect Avenue, Tarrytown, New
24   York 10591.       Hitachi America is a wholly-owned and controlled subsidiary of Defendant
25   Hitachi, Ltd. During the Relevant Period, Hitachi America manufactured, marketed, sold and/or
26   distributed CRT Products, either directly or through its subsidiaries or affiliates, throughout the
27   United States. Co-conspirator Hitachi, Ltd. dominated and controlled the finances, policies and
28   affairs of Hitachi America relating to the antitrust violations alleged in this complaint.
                                                                                          Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED              - 14 -                     Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 16 of 75



 1             41.   Co-conspirator Hitachi Asia, Ltd. (“Hitachi Asia”) is a Singaporean company
 2   with its principal place of business located at 7 Tampines Grande, #08-01 Hitachi Square,
 3   Singapore 528736. Hitachi Asia is a wholly-owned and controlled subsidiary of Defendant
 4   Hitachi, Ltd. During the Relevant Period, Hitachi Asia manufactured, marketed, sold and/or
 5   distributed CRT Products, either directly or through its subsidiaries or affiliates, throughout the
 6   United States. Co-conspirator Hitachi, Ltd. dominated and controlled the finances, policies and
 7   affairs of Hitachi Asia relating to the antitrust violations alleged in this complaint.
 8             42.   Co-conspirator Hitachi Electronic Devices (USA), Inc. (“HEDUS”) is a Delaware
 9   corporation with its principal place of business located at 1000 Hurricane Shoals Road Suite D-
10   100, Lawrenceville, GA 30043. HEDUS is a subsidiary of Defendant Hitachi, Ltd and Hitachi
11   Displays. During the Relevant Period, HEDUS manufactured, marketed, sold and/or distributed
12   CRT Products, either directly or through its subsidiaries or affiliates, throughout the United
13   States.    Co-conspirators Hitachi, Ltd. and Hitachi Displays dominated and controlled the
14   finances, policies and affairs of HEDUS relating to the antitrust violations alleged in this
15   complaint.
16             43.   Co-conspirator Shenzhen SEG Hitachi Color Display Devices, Ltd. (“Hitachi
17   Shenzhen”) was a Chinese company with its principal place of business located at 5001
18   Huanggang Road, Futian District, Shenzhen 518035, China. Hitachi Displays, Ltd. owned at
19   least a 25% interesting in Hitachi Shenzhen until November 8, 2007 (which was coincidentally
20   around the time that the government investigations into the CRT industry began). Thus, Hitachi
21   Shenzhen was a member of the Hitachi corporate group for all but the last two weeks of the
22   Relevant Period. During the Relevant Period, Hitachi Shenzhen manufactured, marketed, sold
23   and/or distributed CRT Products, either directly or through its subsidiaries or affiliates,
24   throughout the United States. Co-conspirators Hitachi, Ltd. and Hitachi Displays dominated and
25   controlled the finances, policies and affairs of Hitachi Shenzhen relating to the antitrust
26   violations alleged in this complaint.
27             44.   Co-conspirators Hitachi Ltd., Hitachi Displays, Hitachi America, Hitachi Asia,
28   HEDUS and Hitachi Shenzhen are collectively referred to herein as “Hitachi.”
                                                                                          Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED            - 15 -                       Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 17 of 75



 1           45.       Co-conspirator IRICO Group Corporation (“IGC”) is a Chinese company with its
 2   principal place of business located at 1 Caihong Rd., Xianyang City, Shaanxi Province 712021.
 3   IGC is the parent company for multiple subsidiaries engaged in the manufacture, marketing,
 4   distribution and sale of CRT Products.         During the Relevant Period, IGC manufactured,
 5   marketed, sold and/or distributed CRT Products, either directly or through its subsidiaries or
 6   affiliates, throughout the United States.
 7           46.       Co-conspirator IRICO Group Electronics Co., Ltd. (“IGE”) is a Chinese company
 8   with its principal place of business located at 1 Caihong Rd., Xianyang City, Shaanxi Province
 9   712021. IGE is owned by Defendant IGC. According to its website, IGE was the first CRT
10   manufacturer in China and one of the leading global manufacturers of CRTs. Its website also
11   claims that in 2003 it was the largest CRT manufacturer in China in terms of production and
12   sales volume, sales revenue and aggregated profit, and taxation. During the Relevant Period,
13   IGE manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
14   subsidiaries or affiliates, throughout the United States. Co-conspirator IGC dominated and
15   controlled the finances, policies and affairs of IGE relating to the antitrust violations alleged in
16   this complaint.
17           47.       Co-conspirator IRICO Display Devices Co., Ltd. (“IDDC”) is a Chinese company
18   with its principal place of business located at No. 16, Fenghui South Road West, District High-
19   tech Development Zone, Xi’an, SXI 710075. IDDC is a partially-owned subsidiary of co-
20   conspirator IGC. In 2006, IDDC was China’s top CRT maker. During the Relevant Period,
21   IDDC manufactured, marketed, distributed and/or sold CRT Products, either directly or through
22   its subsidiaries or affiliates, throughout the United States. Co-conspirator IGC dominated and
23   controlled the finances, policies and affairs of IDDC relating to the antitrust violations alleged in
24   this complaint.
25           48.       Co-conspirators IGC, IGE and IDDC are collectively referred to herein as
26   “IRICO.”
27           49.       Co-conspirator LG Electronics, Inc. (“LGEI”) is a corporation organized under
28   the laws of the Republic of Korea with its principal place of business located at LG Twin
                                                                                        Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED           - 16 -                      Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 18 of 75



 1   Towers, 20 Yeouido-dong, Yeongdeungpo-gu, Seoul 150-721, South Korea. LGEI is a $48.5
 2   billion global force in consumer electronics, home appliances and mobile communications,
 3   which established its first overseas branch office in New York in 1968. The company’s name
 4   was changed from Gold Star Communications to LGEI in 1995, the year in which it also
 5   acquired Zenith in the United States. In 2001, LGEI transferred its CRT business to a 50/50 joint
 6   venture with co-conspirator Koninklijke Philips Electronics N.V. called LG.Philips Displays
 7   (“LGPD”). On April 1, 2007, LGPD became an independent company and changed its name to
 8   LP Displays International Ltd. During the Relevant Period, LGEI manufactured, marketed, sold
 9   and/or distributed CRT Products, either directly or through its subsidiaries or affiliates,
10   throughout the United States.
11           50.     Co-conspirator LG Electronics USA, Inc. (“LGEUSA”) is a Delaware
12   corporation with its principal place of business located at 1000 Sylvan Ave., Englewood Cliffs,
13   New Jersey 07632. LGEUSA is a wholly-owned and controlled subsidiary of co-conspirator
14   LGEI. During the Relevant Period, LGEUSA manufactured, marketed, sold and/or distributed
15   CRT Products, either directly or through its subsidiaries or affiliates, throughout the United
16   States. Co-conspirator LGEI dominated and controlled the finances, policies and affairs of
17   LGEUSA relating to the antitrust violations alleged in this complaint.
18           51.     Co-conspirators LGEI and LGEUSA are collectively referred to herein as “LG
19   Electronics.”
20           52.     Co-conspirator LP Displays International Ltd. f/k/a LGPD (“LP Displays”) is a
21   Hong Kong company located at Corporate Communications, 6th Floor, ING Tower, 308 Des
22   Voeux Road Central, Sheung Wan, Hong Kong. LP Displays is the successor entity to LGPD,
23   which was created in 2001 as a 50/50 joint venture between co-conspirators LGEI and Royal
24   Philips. In March 2007, LP Displays became an independent company. LP Displays is a leading
25   supplier of CRTs for use in television sets and computer monitors with annual sales for 2006 of
26   over $2 billion and a market share of 27%. LP Displays announced in March 2007 that Royal
27   Philips and LGEI would cede control over the company and the shares would be owned by
28   financial institutions and private equity firms.      During the Relevant Period, LP Displays
                                                                                      Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED         - 17 -                      Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 19 of 75



 1   manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
 2   subsidiaries or affiliates, throughout the United States.
 3           53.     Co-conspirator Panasonic Corporation, which was at all times during the Relevant
 4   Period known as Matsushita Electric Industrial Co, Ltd. and only became Panasonic Corporation
 5   on October 1, 2008, is a Japanese entity located at 1006 Oaza Kadoma, Kadoma-shi, Osaka 571-
 6   8501, Japan. During the Relevant Period, Panasonic Corporation manufactured, marketed, sold
 7   and/or distributed CRT Products, either directly or through its subsidiaries or affiliates,
 8   throughout the United States.
 9           54.     Co-conspirator Panasonic Corporation of North America (“PCNA”) is a
10   Delaware corporation with its principal place of business located at One Panasonic Way,
11   Secaucus, New Jersey 07094.            PCNA is a wholly-owned and controlled subsidiary of co-
12   conspirator Panasonic Corporation. During the Relevant Period, PCNA manufactured, marketed,
13   sold and/or distributed CRT Products, either directly or through its subsidiaries or affiliates,
14   throughout the United States. Co-conspirator Panasonic Corporation dominated and controlled
15   the finances, policies and affairs of PCNA relating to the antitrust violations alleged in this
16   complaint.
17           55.     Co-conspirator Matsushita Electronic Corporation (Malaysia) Sdn. Bhd.
18   (“Matsushita Malaysia”) was a Malaysian company with its principal place of business located
19   at Lot 1, Persiaran Tengku Ampuan Section 21, Shah Alam Industrial Site, Shah Alam Malaysia
20   40000. Matsushita Malaysia was a wholly-owned and controlled subsidiary of co-conspirator
21   Panasonic Corporation. Panasonic Corporation transferred Matsushita Malaysia to MT Picture
22   Display Co., Ltd. (“MTPD”), its CRT joint venture with Toshiba Corporation, in 2003. It was
23   re-named MT Picture Display (Malaysia) Sdn. Bhd. and operated as a wholly-owned subsidiary
24   of MTPD until its closure in 2006.            During the Relevant Period, Matsushita Malaysia
25   manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
26   subsidiaries or affiliates, throughout the United States. Co-conspirator Panasonic Corporation
27   dominated and controlled the finances, policies and affairs of Matsushita Malaysia relating to the
28   antitrust violations alleged in this complaint.
                                                                                      Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED              - 18 -                 Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 20 of 75



 1             56.   Co-conspirators Panasonic Corporation,      PCNA, and Matushita Malaysia are
 2   collectively referred to herein as “Panasonic.”
 3             57.   Co-conspirator MT Picture Display Co., Ltd., f/k/a Matsushita Toshiba Picture
 4   Display Co., Ltd. (“MTPD”) is a Japanese entity located at 1-15 Matsuo-cho, Kadoma-shi,
 5   Osaka, 571-8504, Japan. In 2002, Panasonic Corporation entered into a joint venture with co-
 6   conspirator Toshiba Corporation called Matsushita Toshiba Picture Display Co., Ltd. to
 7   manufacture CRTs. Panasonic Corporation was the majority owner with 64.5 percent. On
 8   March 30, 2007, Panasonic Corporation purchased the remaining 35.5 percent stake in the joint
 9   venture, making Matsushita Picture Display Co., Ltd. a wholly-owned subsidiary of Panasonic
10   Corporation, and renaming it MT Picture Display Co., Ltd. During the Relevant Period, MTPD
11   manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
12   subsidiaries or affiliates, throughout the United States.
13             58.   Co-conspirator Beijing Matsushita Color CRT Co., Ltd. (“BMCC”) is a Chinese
14   company with its principal place of business located at No. 9 Jiuxianqiao N. Rd., Dashanzi
15   Chaoyang District, Beijing, China. BMCC is a joint venture company, 50% of which is held by
16   co-conspirator MTPD. The other 50% is held by Beijing Orient Electronics (Group) Co., Ltd.,
17   China National Electronics Import & Export Beijing Company (a China state-owned enterprise),
18   and Beijing Yayunchun Brach of the Industrial and Commercial Bank of China (a China state-
19   owned enterprise).        Formed in 1987, BMCC was Panasonic Corporation’s first CRT
20   manufacturing facility in China. BMCC is the second largest producer of CRTs for televisions in
21   China. During the Relevant Period, BMCC manufactured, marketed, sold and/or distributed
22   CRT Products, either directly or through its subsidiaries or affiliates, throughout the United
23   States.
24             59.   Co-conspirator Koninklijke Philips Electronics N.V. a/k/a Royal Philips
25   Electronics (“Royal Philips”) is a Dutch company with its principal place of business located at
26   Amstelplein 2, 1070 MX Amsterdam, The Netherlands. Royal Philips, founded in 1891, is one
27   of the world’s largest electronics companies, with 160,900 employees located in over 60
28   countries. Royal Philips had sole ownership of its CRT business until 2001. In 2001, Royal
                                                                                    Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED           - 19 -                  Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 21 of 75



 1   Philips transferred its CRT business to a 50/50 joint venture with co-conspirator LGEI, forming
 2   co-conspirator LGPD (n/k/a LP Displays). In December 2005, as a result of increased pressure
 3   on demand and prices for CRT Products, Royal Philips wrote off the remaining book value of
 4   126 million Euros of its investment and said it would not inject further capital into the venture.
 5   During the Relevant Period, Royal Philips manufactured, marketed, sold and/or distributed CRT
 6   Products, either directly or through its subsidiaries or affiliates, throughout the United States.
 7           60.     Co-conspirator Philips Electronics North America Corporation (“Philips
 8   America”) is a Delaware corporation with its principal place of business located at 1251 Avenue
 9   of the Americas, New York, New York 10020-1104. Philips America is a wholly-owned and
10   controlled subsidiary of co-conspirator Royal Philips.        During the Relevant Period, Philips
11   America manufactured, marketed, sold and/or distributed CRT Products, either directly or
12   through its subsidiaries or affiliates, throughout the United States. Co-conspirator Royal Philips
13   dominated and controlled the finances, policies and affairs of Philips America relating to the
14   antitrust violations alleged in this complaint.
15           61.     Co-conspirator Philips Electronics Industries (Taiwan), Ltd. (“Philips Taiwan”)
16   is a Taiwanese company with its principal place of business located at 15F 3-1 Yuanqu Street,
17   Nangang District, Taipei, Taiwan.       Philips Taiwan is a subsidiary of co-conspirator Royal
18   Philips.   During the Relevant Period, Philips Taiwan manufactured, marketed, sold and/or
19   distributed CRT Products, either directly or through its subsidiaries or affiliates, throughout the
20   United States. Co-conspirator Royal Philips dominated and controlled the finances, policies and
21   affairs of Philips Taiwan relating to the antitrust violations alleged in this complaint.
22           62.     Co-conspirator Philips da Amazonia Industria Electronica Ltda. (“Philips
23   Brazil”) is a Brazilian company with its principal place of business located at Av Torquato
24   Tapajos 2236, 1 andar (parte 1), Flores, Manaus, AM 39048-660, Brazil. Philips Brazil is a
25   wholly-owned and controlled subsidiary of co-conspirator Royal Philips. During the Relevant
26   Period, Philips Brazil manufactured, marketed, sold and/or distributed CRT Products, either
27   directly or through its subsidiaries or affiliates, throughout the United States. Co-conspirator
28   Royal Philips dominated and controlled the finances, policies and affairs of Philips Brazil
                                                                                         Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED              - 20 -                    Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 22 of 75



 1   relating to the antitrust violations alleged in this complaint.
 2           63.     Co-conspirators Royal Philips, Philips America, Philips Taiwan and Philips Brazil
 3   are collectively referred to herein as “Philips.”
 4           64.     Co-conspirator Samsung SDI Co., Ltd. f/k/a Samsung Display Device Company
 5   (“Samsung SDI”) is a South Korean company with its principal place of business located at 575
 6   Shin-dong, Youngtong-gu, Suwon, South Korea. Samsung SDI is a public company. Samsung
 7   Electronics Corporation (“SEC”) is a major shareholder of Samsung SDI, holding almost 20
 8   percent of the stock. Founded in 1970, Samsung SDI claims to be the world’s leading company
 9   in the display and energy business, with 28,000 employees and facilities in 18 countries. In
10   2002, Samsung SDI held a 34.3% worldwide market share in the market for CRTs; more than
11   any other producer. Samsung SDI has offices in Chicago and San Diego. During the Relevant
12   Period, Samsung SDI manufactured, marketed, sold and/or distributed CRT Products, either
13   directly or through its subsidiaries or affiliates, throughout the United States. SEC dominated
14   and controlled the finances, policies and affairs of Samsung SDI relating to the antitrust
15   violations alleged in this complaint.
16           65.     Co-conspirator Samsung SDI America, Inc. (“Samsung SDI America”) is a
17   California corporation with its principal place of business located at 3333 Michelson Drive, Suite
18   700, Irvine, California 92612.         Samsung SDI America is a wholly-owned and controlled
19   subsidiary of co-conspirator Samsung SDI. During the Relevant Period, Samsung SDI America
20   manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
21   subsidiaries or affiliates, throughout the United States. SEC and co-conspirator Samsung SDI
22   dominated and controlled the finances, policies and affairs of Samsung SDI America relating to
23   the antitrust violations alleged in this complaint.
24           66.     Co-conspirator Samsung SDI Mexico S.A. de C.V. (“Samsung SDI Mexico”) is
25   a Mexican company with its principal place of business located at Blvd. Los Olivos, No. 21014,
26   Parque Industrial El Florido, Tijuana, B.C. Mexico. Samsung SDI Mexico is a wholly-owned
27   and controlled subsidiary of co-conspirator Samsung SDI. During the Relevant Period, Samsung
28   SDI Mexico manufactured, marketed, sold and/or distributed CRT Products, either directly or
                                                                                      Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED            - 21 -                   Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 23 of 75



 1   through its subsidiaries or affiliates, throughout the United States. SEC and co-conspirator
 2   Samsung SDI dominated and controlled the finances, policies and affairs of Samsung SDI
 3   Mexico relating to the antitrust violations alleged in this complaint.
 4           67.     Co-conspirator Samsung SDI Brasil Ltda. (“Samsung SDI Brazil”) is a Brazilian
 5   company with its principal place of business located at Av. Eixo Norte Sul, S/N, Distrito
 6   Industrial, 69088-480 Manaus, Amazonas, Brazil. Samsung SDI Brazil is a wholly-owned and
 7   controlled subsidiary of co-conspirator Samsung SDI. During the Relevant Period, Samsung
 8   SDI Brazil manufactured, marketed, sold and/or distributed CRT Products, either directly or
 9   through its subsidiaries or affiliates, throughout the United States. SEC and co-conspirator
10   Samsung SDI dominated and controlled the finances, policies and affairs of Samsung SDI Brazil
11   relating to the antitrust violations alleged in this complaint.
12           68.     Co-conspirator Shenzhen Samsung SDI Co., Ltd. (“Samsung SDI Shenzhen”) is
13   a Chinese company with its principal place of business located at Huanggang Bei Lu, Futian Gu,
14   Shenzhen, China. Samsung SDI Shenzhen is a wholly-owned and controlled subsidiary of co-
15   conspirator Samsung SDI. During the Relevant Period, Samsung SDI Shenzhen manufactured,
16   marketed, sold and/or distributed CRT Products, either directly or through its subsidiaries or
17   affiliates, throughout the United States. SEC and co-conspirator Samsung SDI dominated and
18   controlled the finances, policies and affairs of Samsung SDI Shenzhen relating to the antitrust
19   violations alleged in this complaint.
20           69.     Co-conspirator Tianjin Samsung SDI Co., Ltd. (“Samsung SDI Tianjin”) is a
21   Chinese company with its principal place of business located at Developing Zone of Yi-Xian
22   Park, Wuqing County, Tianjin, China. Samsung SDI Tianjin is a wholly-owned and controlled
23   subsidiary of co-conspirator Samsung SDI. During the Relevant Period, Samsung SDI Tianjin
24   manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
25   subsidiaries or affiliates, throughout the United States. SEC and co-conspirator Samsung SDI
26   dominated and controlled the finances, policies and affairs of Samsung SDI Tianjin relating to
27   the antitrust violations alleged in this complaint.
28           70.     Co-conspirator Samsung SDI (Malaysia) Sdn. Bhd. (“Samsung SDI Malaysia”)
                                                                                      Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED            - 22 -                   Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 24 of 75



 1   is a Malaysian corporation with its principal place of business located at Lots 635 & 660,
 2   Kawasan Perindustrian, Tuanku Jafaar, 71450 Sungai Gadut, Negeri Sembilan Darul Khusus,
 3   Malaysia. Samsung SDI Malaysia is a wholly-owned and controlled subsidiary of co-conspirator
 4   Samsung SDI. During the Relevant Period, Samsung SDI Malaysia manufactured, marketed,
 5   sold and/or distributed CRT Products, either directly or through its subsidiaries or affiliates,
 6   throughout the United States. SEC and co-conspirator Samsung SDI dominated and controlled
 7   the finances, policies and affairs of Samsung SDI Malaysia relating to the antitrust violations
 8   alleged in this complaint.
 9           71.      Co-conspirators Samsung SDI, Samsung SDI America, Samsung SDI Mexico,
10   Samsung SDI Brazil, Samsung SDI Shenzhen, Samsung SDI Tianjin and Samsung SDI Malaysia
11   are collectively referred to herein as “Samsung SDI.”
12           72.      Co-conspirator Samtel Color Ltd. (“Samtel”) is an Indian company with its
13   principal place of business located at 52, Community Centre, New Friends Colony, New Delhi-
14   110065. Samtel’s market share for CRTs sold in India is approximately 40%, and it is that
15   country’s largest exporter of CRT Products. Samtel has gained safety approvals from the United
16   States, Canada, Germany, and Great Britain for its CRT Products. During the Relevant Period,
17   Samtel manufactured, marketed, sold and/or distributed CRT Products, either directly or through
18   its subsidiaries and affiliates, throughout the United States.
19           73.      Co-conspirator Thai CRT Co., Ltd. (“Thai CRT”) is a Thai company located at
20   1/F 26 Siam Cement Rd., Bangsue Dusit, Bangkok, Thailand. Thai CRT is a subsidiary of Siam
21   Cement Group, and it was established in 1986 as Thailand’s first manufacturer of CRTs for color
22   televisions.     During the Relevant Period, Thai CRT manufactured, marketed, sold and/or
23   distributed CRT Products, either directly or through its subsidiaries or affiliates, throughout the
24   United States.
25           74.      Co-conspirator Toshiba Corporation (“TC”) is a Japanese company with its
26   principal place of business located at 1-1, Shibaura 1-chome, Minato-ku, Tokyo 105-8001,
27   Japan. In 2001, TC held a 5 to 10 percent worldwide market share for CRTs used in televisions
28   and in computer monitors. In December 1995, TC partnered with Orion Electronic Co. and two
                                                                                       Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED           - 23 -                     Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 25 of 75



 1   other non-Defendant entities to form P.T. Tosummit Electronic Devices Indonesia (“TEDI”) in
 2   Indonesia. TEDI was projected to have an annual production capacity of 2.3 million CRTs by
 3   1999.    In 2002, TC entered into MTPD, a joint venture with co-conspirator Panasonic
 4   Corporation, in which the entities consolidated their CRT businesses. During the Relevant
 5   Period, TC manufactured, marketed, sold and/or distributed CRT Products, either directly or
 6   through its subsidiaries or affiliates, throughout the United States.
 7           75.       Co-conspirator Toshiba America, Inc. (“Toshiba America”) is a Delaware
 8   corporation with its principal place of business located at 1251 Avenue of the Americas, Suite
 9   4110, New York, New York 10020.             Toshiba America is a wholly-owned and controlled
10   subsidiary of co-conspirator TC. During the Relevant Period, Toshiba America manufactured,
11   marketed, sold and/or distributed CRT Products, either directly or through its subsidiaries or
12   affiliates, throughout the United States.       Co-conspirator TC dominated and controlled the
13   finances, policies and affairs of Toshiba America relating to the antitrust violations alleged in
14   this complaint.
15           76.       Co-conspirator Toshiba America Consumer Products, LLC (“TACP”) is a limited
16   liability company that is headquartered at 82 Totowa Rd., Wayne, New Jersey 07470-3114.
17   TACP is a wholly-owned and controlled subsidiary of co-conspirator TC through Toshiba
18   America. During the Relevant Period, TACP manufactured, marketed, sold and/or distributed
19   CRT Products, either directly or through its subsidiaries or affiliates, throughout the United
20   States. Co-conspirator TC dominated and controlled the finances, policies and affairs of TACP
21   relating to the antitrust violations alleged in this complaint.
22           77.       Co-conspirator Toshiba America Electronic Components, Inc. (“TAEC”) is a
23   California corporation with its principal place of business located at 19900 MacArthur
24   Boulevard, Suite 400, Irvine, California 92612.          TAEC is a wholly-owned and controlled
25   subsidiary of co-conspirator TC through Toshiba America. During the Relevant Period, TAEC
26   manufactured, marketed, sold and/or distributed CRT Products, either directly or through its
27   subsidiaries or affiliates, throughout the United States.         Co-conspirator TC dominated and
28   controlled the finances, policies and affairs of TAEC relating to the antitrust violations alleged in
                                                                                         Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED            - 24 -                      Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 26 of 75



 1   this complaint.
 2           78.       Co-conspirator Toshiba America Information Systems, Inc. (“TAIS”) is a
 3   California corporation with its principal place of business located at 9740 Irvine Blvd., Irvine,
 4   California 92618-1697. TAIS is a wholly-owned and controlled subsidiary of co-conspirator TC
 5   through Toshiba America. During the Relevant Period, TAIS manufactured, marketed, sold
 6   and/or distributed CRT Products, either directly or through its subsidiaries or affiliates,
 7   throughout the United States. Co-conspirator TC dominated and controlled the finances, policies
 8   and affairs of TAIS relating to the antitrust violations alleged in this complaint.
 9           79.       Co-conspirator P.T. Tosummit Electronic Devices Indonesia (“TEDI”) was a
10   CRT joint venture formed by TC, Orion Electronic Co., and two other entities in December
11   1995. TEDI’s principal place of business was located in Indonesia. TEDI was projected to have
12   an annual production capacity of 2.3 million CRTs by 1999. In 2003, TEDI was transferred to
13   co-conspirator MTPD, TC’s joint venture with Panasonic Corporation, and its name was changed
14   to PT.MT Picture Display Indonesia.          During the Relevant Period, TEDI manufactured,
15   marketed, sold and/or distributed CRT Products, either directly or through its subsidiaries or
16   affiliates, throughout the United States.      Co-conspirator TC dominated and controlled the
17   finances, policies, and affairs of TEDI relating to the antitrust violations alleged in this
18   complaint.
19           80.       Co-conspirator Toshiba Display Devices (Thailand) Co., Ltd. (“TDDT”) was a
20   Thai company with its principal place of business located at 142 Moo 5 Bangkok Industrial
21   Estate, Tivanon Road, Pathum Thani, Thailand 12000.              TDDT was a wholly-owned and
22   controlled subsidiary of co-conspirator TC. In 2003, TDDT was transferred to co-conspirator
23   MTPD, TC’s joint venture with Panasonic Corporation. It was re-named MT Picture Display
24   (Thailand) Co., Ltd. and operated as a wholly-owned and controlled subsidiary of MTPD until its
25   closure in 2007. During the Relevant Period, TDDT manufactured, marketed, sold and/or
26   distributed CRT Products, either directly or through its subsidiaries or affiliates, throughout the
27   United States. Co-conspirator TC dominated and controlled the finances, policies and affairs of
28   TDDT relating to the antitrust violations alleged in this complaint.
                                                                                         Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED           - 25 -                       Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 27 of 75



 1           81.     Co-conspirators TC, Toshiba America, TACP, TAEC, TAIS, TEDI, and TDDT
 2   are collectively referred to herein as “Toshiba.”
 3           82.     Co-conspirator Orion Electronic Co. (“Orion”) was a Korean corporation. It filed
 4   for bankruptcy in 2004.         Orion was a major manufacturer of CRT Products.                 In 1995,
 5   approximately 85% of Orion’s $1 billion in sales was attributed to CRT Products. Orion was
 6   involved in CRT Products sales and manufacturing joint ventures and had subsidiaries all over
 7   the world, including South Africa, France, Indonesia, Mexico, and the United States. Plaintiffs
 8   are informed and believe that Orion was wholly owned by the “Daewoo Group.” The Daewoo
 9   Group included Daewoo Electronics Co., Ltd. (“Daewoo Electronics”), Daewoo Telecom Co.,
10   Daewoo Corporation, and Orion Electronic Components Co.                   The Daewoo Group was
11   dismantled in or around 1999. Daewoo Electronics and Orion were 50/50 joint venture partners
12   in an entity called Daewoo-Orion Societe Anonyme (“DOSA”) in France. As of approximately
13   1996, DOSA produced 1.2 million CRTs annually. Daewoo sold DOSA’s CRT business in or
14   around 2004.        During the Relevant Period, Orion, Daewoo Electronics, and DOSA
15   manufactured, marketed, sold and/or distributed CRTs and/or CRT Products, either directly or
16   through their subsidiaries of affiliates, throughout the United States.
17           83.     Co-conspirators Orion, Daewoo Electronics, and DOSA are collectively referred
18   to herein as “Daewoo.”
19           84.     Co-conspirator Chunghwa Picture Tubes, Ltd. (“Chunghwa PT”) is a Taiwanese
20   company with its principal place of business at No. 1127, Heping Rd., Bade City, Taoyuan,
21   Taiwan. It was established in 1971 by Tatung Corporation to manufacture CRTs. In 1974,
22   Chunghwa PT’s CRTs received certification by the United States, giving the company entry into
23   that market. Throughout the Relevant Period, Chunghwa PT was one of the major global CRT
24   manufacturers. During the Relevant Period, Chunghwa PT manufactured, marketed, sold and/or
25   distributed CRT Products, either directly or through its subsidiaries or affiliates (such as its
26   Fuzhou subsidiary), throughout the United States.
27           85.     Co-conspirator Chunghwa Picture Tubes (Malaysia) Sdn. Bhd. (“Chunghwa
28   Malaysia”) is a Malaysian company with its principal place of business at Lot I, Subang Hi-Tech
                                                                                         Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED           - 26 -                       Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 28 of 75



 1   Industrial Park, Batu Tiga, 4000 Shah Alam, Selangor Darul Ehsan, Malaysia. It is a wholly-
 2   owned subsidiary of Chunghwa PT. Chunghwa Malaysia is focused on CRT production, and it
 3   has established itself as one of the leading worldwide suppliers of CRTs. During the Relevant
 4   Period, Chunghwa Malaysia manufactured, marketed, sold and/or distributed CRT Products,
 5   either directly or through its subsidiaries or affiliates, throughout the United States.               Co-
 6   conspirator Chunghwa PT dominated and controlled the finances, policies and affairs of
 7   Chunghwa Malaysia relating to the antitrust violations alleged in this complaint.
 8           86.     Co-conspirators Chunghwa PT and Chunghwa Malaysia are collectively referred
 9   to herein as “Chunghwa.”
10           87.     Co-conspirator Technologies Displays Mexicana, S.A. de C.V. (“Technologies
11   Displays Mexicana”), formerly known as Thomson Displays Mexicana, is a Mexican
12   corporation with its principal place of business located at Calz. Robledo Industrial Colorad,
13   Mexicali, B.C. 21384, Mexico. Technologies Displays Mexicana is a wholly owned subsidiary
14   of defendant TDA, which is itself a wholly owned subsidiary of defendant Videocon. During the
15   Relevant Period, Technologies Displays Mexicana manufactured, marketed, sold and/or
16   distributed CRT Products, either directly or indirectly through subsidiaries or affiliates, to
17   customers throughout the United States. Defendants Thomson SA and later Videocon and TDA
18   dominated and/or controlled the finances, policies and/or affairs of Technologies Displays
19   Mexicana relating to the antitrust violations alleged in this Complaint.
20           88.     Co-conspirator TCL Thomson Electronics Corporation (“TCL Thomson”) is a
21   joint venture formed between Thomson SA and TCL International Holdings Ltd. (“TCL”). TCL
22   Thomson is headquartered at the TCL Building, South Nanhai Road, Nanshan District,
23   Shenzhen, Guangdong, China.            During the Relevant Period, TCL Thomson manufactured,
24   marketed, sold and/or distributed CRT Products, either directly or indirectly through subsidiaries
25   or affiliates, to customers throughout the United States. One of the direct or indirect subsidiaries
26   of TCL Thomson or TCL that manufactured, marketed, sold and/or distributed CRT Products in
27   the United States was TTE Technology, Inc. (“TTE”). Defendant Thomson SA dominated
28   and/or controlled the finances, policies and/or affairs of TCL Thomson and TTE relating to the
                                                                                        Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED            - 27 -                     Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 29 of 75



 1   antitrust violations alleged in this Complaint.
 2   IV.       AGENTS
 3             89.   The acts alleged against Defendants in this Complaint were authorized, ordered,
 4   or done by their officers, agents, employees, or representatives, while actively engaged in the
 5   management and operation of Defendants’ businesses or affairs.
 6             90.   Each Defendant or co-conspirator acted as the principal, agent, or joint venturer
 7   of, or for, other Defendants and co-conspirators with respect to the acts, violations, and common
 8   course of conduct alleged by Plaintiffs. Each Defendant and co-conspirator that is a subsidiary
 9   of a foreign parent acts as the United States agent for CRTs and/or CRT Products made by its
10   parent company.
11             91.   The acts charged in this Complaint have been done by Defendants and their co-
12   conspirators, or were authorized, ordered or done by their respective officers, agents, employees
13   or representatives while actively engaged in the management of each Defendant’s or co-
14   conspirator’s business or affairs.
15   V.        TRADE AND COMMERCE
16             92.   During the Relevant Period, each Defendant, or one or more of its subsidiaries,
17   sold CRT Products in the United States in a continuous and uninterrupted flow of interstate
18   commerce and foreign commerce, including through and into this judicial district.
19             93.   During the Relevant Period, Defendants and their co-conspirators collectively
20   controlled a vast majority of the market for CRT Products, both globally and in the United
21   States.
22             94.   The business activities of Defendants substantially affected interstate trade and
23   commerce in the United States and caused antitrust injury in the United States. Defendants’
24   business activities substantially affected trade and commerce within each of the 50 states, as the
25   conspiracy artificially inflated the prices of CRT Products sold in all 50 states, and therefore
26   caused antitrust injury in every state including the states identified herein. Moreover, Plaintiffs
27   purchased price-fixed goods directly and indirectly from Defendants for sale across the United
28   States.
                                                                                       Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED              - 28 -                  Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 30 of 75



 1   VI.     FACTUAL ALLEGATIONS
 2            A.     CRT Technology
 3           95.     A CRT has three components: (a) one or more electron guns, each of which is a
 4   series of metallic structures used to generate a beam of electrons; (b) a magnetic or other
 5   deflection system used to aim the electron beam; and (c) a phosphor-coated glass faceplate that
 6   phosphoresces when struck by an electron beam, thereby producing a viewable image. A
 7   faceplate coated with one color of phosphor produces a monochromatic image, while a faceplate
 8   coated with multiple colors of phosphor produces a polychromatic image. An aperture or
 9   shadow mask—a thin screen of perforated metal—is welded to the faceplate panel and, to
10   produce a color image, is coated and rinsed multiple times, leaving a surface of thousands of
11   narrow lines of red, green, blue and black.
12           96.     CRT technology was first developed more than a century ago.                 The first
13   commercially practical CRT television was made in 1931. However, it was not until RCA
14   Corporation introduced the product at the 1939 World’s Fair that it became widely available to
15   consumers. After that, CRTs became the heart of most display products, including televisions,
16   computer monitors, oscilloscopes, air traffic control monitors and ATMs.
17           97.     The quality of a CRT itself determines the quality of the CRT display. No
18   external control or feature can make up for a poor quality tube. In this regard, the CRT defines
19   the whole CRT product so that the product is often simply referred to as “the CRT.”
20           98.     Although there have been refinements and incremental advancements along the
21   way since then, such as the development of thinner CRTs and CRTs with a flat screen, the CRT
22   technology used today is similar to that RCA unveiled in 1939.
23           99.     CRTs can be subdivided into CDTs and CPTs. As noted above, CPTs are used
24   primarily in televisions and related devices and CDTs are primarily used in computer monitors
25   and similar devices. The primary difference is that CDTs typically yield a higher resolution
26   image requiring more pixels than do CPTs.
27           100.    CRTs have no independent utility, and have value only as components of other
28   products, such as TVs and computer monitors. The demand for CRTs thus directly derives from
                                                                                     Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED          - 29 -                    Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 31 of 75



 1   the demand for such products.
 2           101.    The market for CRTs and the market for the products into which they are placed
 3   are inextricably linked and intertwined because the CRT market exists to serve the CRT Products
 4   markets. The markets for CRTs and CRT Products are, for all intents and purposes, inseparable
 5   in that one would not exist without the other.
 6           102.    Plaintiffs have participated in the market for CRTs through their direct purchases
 7   from Defendants of CRT Products containing price-fixed CRTs and their purchases of CRT
 8   Products containing price-fixed CRTs indirectly from non-Defendant original equipment
 9   manufacturers (“OEM”) and others. Defendants’ unlawful conspiracy has inflated the prices at
10   which Plaintiffs bought CRT Products, and Plaintiffs have been injured thereby and paid supra-
11   competitive prices for CRT Products.
12           103.    Plaintiffs have participated in the market for products containing CRTs. To the
13   extent Plaintiffs indirectly purchased CRTs as part of a CRT Product, Defendants’ and their co-
14   conspirators’ unlawful conspiracy inflated the prices at which OEMs and others resold CRTs in
15   these products. Plaintiffs were not able to pass the inflated prices on to their customers.
16           104.    Plaintiffs have been injured by paying supra-competitive prices for CRT Products.
17           B.      Structure of the CRT Industry
18           105.    The CRT industry has several characteristics that facilitated a conspiracy,
19   including market concentration, ease of information sharing, the consolidation of manufacturers,
20   multiple interrelated business relationships, significant barriers to entry, heightened price
21   sensitivity to supply and demand forces and homogeneity of products.
22                   1.       Market Concentration
23           106.    During the Relevant Period, the CRT industry was dominated by relatively few
24   companies. In 2004, Samsung SDI, LGPD (n/k/a LP Displays), MTPD, and Chunghwa, together
25   held a collective 78% share of the global CRT market. The high concentration of market share
26   facilitates coordination because there are fewer cartel members among which to coordinate
27   pricing or allocate markets, and it is easier to monitor the pricing and production of other cartel
28   members.
                                                                                         Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED             - 30 -                     Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 32 of 75



 1                   2.       Information Sharing
 2           107.    Because of common membership in trade associations, interrelated business
 3   arrangements such as joint ventures, allegiances between companies in certain countries and
 4   relationships between the executives of certain companies, there were many opportunities for
 5   Defendants and co-conspirators to discuss and exchange competitive information. The ease of
 6   communication was facilitated by the use of meetings, telephone calls, e-mails and instant
 7   messages. Defendants and co-conspirators took advantage of these opportunities to discuss, and
 8   agree upon, their pricing for CRTs as alleged below.
 9                   3.       Consolidation
10           108.    The CRT industry also had significant consolidation during the Relevant Period,
11   including but not limited to: (a) the creation of LGPD in 2001, which was a joint venture
12   involving Philips’ and LG Electronics’ CRT businesses; and (b) the 2002 merger of Toshiba’s
13   and Panasonic’s CRT businesses into MTPD.
14                   4.       High Costs of Entry Into the Industry
15           109.    There are significant manufacturing and technological barriers to entry into the
16   CRT industry. It would require substantial time, resources and industry knowledge to overcome
17   these barriers to entry. It is also extremely unlikely that a new producer would enter the market
18   in light of the declining demand for CRT Products.
19           110.    During the Relevant Period, the costs of the assembly components, both as a
20   whole and individually, have been generally declining, and, in some periods, declining at a
21   substantial rate.    A combination of price discussions and manipulation of the output of CRTs
22   allowed Defendants and co-conspirators to keep prices above where they would have been but
23   for the conspiracy.
24                              5.    Homogeneity of CRT Products
25           111.    CRT Products are commodity-like products which are manufactured in
26   standardized sizes.     One Defendant’s CRT Product for a particular application, such as a
27   particular size television set or computer monitor, is substitutable for another’s. Defendants and
28   co-conspirators sold CRTs primarily on the basis of price.
                                                                                      Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED           - 31 -                    Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 33 of 75



 1           112.    It is easier to form and sustain a cartel when the product in question is
 2   commodity-like because it is easier to agree on prices to charge and to monitor those prices once
 3   an agreement is formed.
 4           C.      Pre-Conspiracy Market
 5           113.    The genesis of the CRT conspiracy was in the late 1980s as the CRT Products
 6   business became more international and Defendants began serving customers that were also
 7   being served by other international companies. During this period, the employees of Defendants
 8   would encounter employees from their competitors when visiting their customers. A culture of
 9   cooperation developed over the years and these Defendant employees would exchange market
10   information on production, capacity and customers.
11           114.    In the early 1990s, representatives from Samsung SDI, Daewoo, Chunghwa, and
12   Orion visited each other’s factories in Southeast Asia. During this period, these producers began
13   to include discussions about price in their meetings.
14           D.      Defendants’ and Co-Conspirators’ Illegal Agreements
15           115.    In order to control and maintain profitability during declining demand for CRT
16   Products, Defendants and their co-conspirators have engaged in a contract, combination, trust or
17   conspiracy, the effect of which has been to raise, fix, maintain and/or stabilize the prices at
18   which they sold CRTs to artificially inflated levels from at least March 1, 1995 through at least
19   November 25, 2007.
20           116.    The CRT conspiracy was effectuated through a combination of group and
21   bilateral meetings. In the formative years of the conspiracy (1995-1996), bilateral discussions
22   were the primary method of communication and took place on an informal, ad hoc basis. During
23   this period, representatives from Daewoo, LG Electronics and Samsung SDI visited other
24   manufacturers, including Philips, Chunghwa, Thai CRT, Hitachi, Toshiba and Panasonic, to
25   discuss increasing prices for CRTs in general and to specific customers. These meetings took
26   place in Taiwan, South Korea, Thailand, Japan, Malaysia, Indonesia and Singapore. Samsung
27   SDI, LG, and Chunghwa, along with Daewoo, also attended several ad hoc group meetings
28   during this period. The participants at these group meetings also discussed increasing prices for
                                                                                     Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED          - 32 -                    Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 34 of 75



 1   CRTs.
 2           117.    As more manufacturers formally entered the conspiracy, group meetings became
 3   more prevalent. Beginning in 1997, group meetings occurred in a more organized, systematic
 4   fashion, and a formal system of multilateral and bilateral meetings was put in place.
 5           118.    The overall CRT conspiracy raised and stabilized worldwide and U.S. prices that
 6   Defendants and their co-conspirators charged for CRTs.
 7                   1.       “Glass Meetings”
 8           119.    The group meetings among the participants in the CRT price-fixing conspiracy
 9   were referred to as “glass meetings” or “GSM.” Glass meetings were attended by employees at
10   three general levels of the participant corporations.
11           120.    The first level meetings were attended by high level company executives
12   including CEOs, Presidents, and Vice Presidents, and were known as “top” meetings. Top
13   meetings occurred less frequently, typically quarterly, and were focused on longer term
14   agreements and forcing compliance with price fixing agreements. Because attendees at top
15   meetings had authority as well as more reliable information, these meetings resulted in
16   agreements. Attendees at top meetings were also able to resolve disputes because they were
17   decision makers who could make agreements.
18           121.    The second level meetings were attended by high level sales managers and were
19   known as “management” meetings.             These meetings occurred more frequently, typically
20   monthly, and handled implementation of the agreements made at top meetings.
21           122.    Finally, the third level meetings were known as “working level” meetings and
22   were attended by lower level sales and marketing employees. These meetings generally occurred
23   on a weekly or monthly basis and were mostly limited to the exchange of information and
24   discussing pricing since the lower level employees did not have the authority to enter into
25   agreements. These lower level employees would then transmit the competitive information up
26   the corporate reporting chain to those individuals with pricing authority. The working level
27   meetings also tended to be more regional and often took place near the conspirators’ factories.
28   In other words, the Taiwanese manufacturers’ employees met in Taiwan, the Korean
                                                                                       Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED           - 33 -                     Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 35 of 75



 1   manufacturers’ employees met in Korea, the Chinese in China, and so on.
 2           123.    The Chinese glass meetings began in 1998 and generally occurred on a monthly
 3   basis following a top or management level meeting. The China meetings had the principal
 4   purpose of reporting what had been decided at the most recent glass meetings to the Chinese
 5   manufacturers. Participants at the Chinese meetings included the manufacturers located in
 6   China, such as IRICO and BMCC, as well as the China-based branches of other conspirators,
 7   including but not limited to Hitachi Shenzhen, Samsung SDI Shenzhen, Samsung SDI Tianjin,
 8   and Chunghwa.
 9           124.    Glass meetings also occurred occasionally in various European countries.
10   Attendees at these meetings included those conspirators which had subsidiaries and/or
11   manufacturing facilities located in Europe, including Philips, LG Electronics, LP Displays,
12   Chunghwa, Samsung, Daewoo (usually DOSA attended these meetings on behalf of Daewoo)
13   and IRICO. Chunghwa also attended these meetings.
14           125.    Representatives of the conspirators also attended what were known amongst
15   members of the conspiracy as “green meetings.” These were meetings held on golf courses. The
16   green meetings were generally attended by top and management level employees of the
17   conspirators. During the Relevant Period, glass meetings took place in Taiwan, South Korea,
18   Europe, China, Singapore, Japan, Indonesia, Thailand, Malaysia, and the United States.
19           126.    Participants would often exchange competitively sensitive information prior to a
20   glass meeting. This included information on inventories, production, sales and exports. For
21   some such meetings, where information could not be gathered in advance of the meeting, it was
22   brought to the meeting and shared.
23           127.    The glass meetings at all levels followed a fairly typical agenda.          First, the
24   participants exchanged competitive information such as proposed future CRT pricing, sales
25   volume, inventory levels, production capacity, exports, customer orders, price trends and
26   forecasts of sales volumes for coming months. The participants also updated the information
27   they had provided in the previous meeting. Each meeting had a rotating, designated “Chairman”
28   who would write the information on a white board. The meeting participants then used this
                                                                                     Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED         - 34 -                     Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 36 of 75



 1   information to discuss and agree upon what price each would charge for CRTs to be sold in the
 2   following month or quarter. They discussed and agreed upon target prices, price increases, so-
 3   called “bottom” prices and price ranges for CRTs. They also discussed and agreed upon prices
 4   of CRTs that were sold to specific customers, and agreed upon target prices to be used in
 5   negotiations with large customers. Having analyzed the supply and demand, the participants
 6   would also discuss and agree upon production cutbacks.
 7             128.   During periods of oversupply, the focus of the meeting participants turned to
 8   making controlled and coordinated price reductions. This was referred to as setting a “bottom
 9   price.”
10             129.   The conspiracy included agreements on the prices at which certain conspirators
11   would sell CRTs to their own corporate subsidiaries and affiliates that manufactured end
12   products, such as televisions and computer monitors. The conspirators realized the importance
13   of keeping the internal pricing to their affiliated OEMs at a high enough level to support the CRT
14   pricing in the market to other OEMs. In this way, Defendants and their co-conspirators ensured
15   that all direct purchaser OEMs paid supracompetitive prices for CRTs.
16             130.   The agreements reached at the glass meetings included:
17                             a. agreements on CRT prices, including establishing target prices,
18                                 “bottom” prices, price ranges and price guidelines;
19                             b. placing agreed-upon price differentials on various attributes of CRTs,
20                                 such as quality or certain technical specifications;
21                             c. agreements on pricing for intra-company CRTs sales to vertically
22                                 integrated customers;
23                             d. agreements as to what to tell customers about the reason for a price
24                                 increase;
25                             e. agreements to coordinate with competitors that did not attend the group
26                                 meetings and agreements with them to abide by the agreed-upon
27                                 pricing;
28                             f. agreements to coordinate pricing with CRT manufacturers in other
                                                                                           Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED             - 35 -                       Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 37 of 75



 1                                 geographic markets such as Brazil, Europe and India;
 2                             g. agreements to exchange pertinent information regarding shipments,
 3                                 capacity, production, prices and customers’ demands;
 4                             h. agreements to coordinate uniform public statements regarding available
 5                                 capacity and supply;
 6                             i. agreements to allocate both overall market shares and share of a
 7                                 particular customer’s purchases;
 8                             j. agreements to allocate customers;
 9                             k. agreements regarding capacity, including agreements to restrict output
10                                 and to audit compliance with such agreements; and
11                             l. agreements to keep their meetings secret.
12           131.    Efforts were made to monitor each conspirator’s adherence to these agreements in
13   a number of ways, including seeking confirmation of pricing both from customers and from
14   employees of the conspirators themselves. When cheating did occur, it was addressed in at least
15   four ways: 1) monitoring; 2) attendees at the meetings challenging other attendees if they did not
16   live up to an agreement; 3) threats to undermine a competitor at one of its principal customers;
17   and 4) a recognition of a mutual interest in living up to the target price and living up to the
18   agreements that had been made.
19           132.    From 2005-2007 the group glass meetings became less frequent and bilateral
20   meetings again became more prevalent.
21                   2.       Bilateral Discussions
22           133.    Throughout the Relevant Period, the glass meetings were supplemented by
23   bilateral discussions between various Defendants and their co-conspirators.             The bilateral
24   discussions were more informal than the group meetings and occurred on a frequent, ad hoc
25   basis, often between the group meetings. These discussions, usually between sales and marketing
26   employees, took the form of in-person meetings, telephone contacts and emails.
27           134.    During the Relevant Period, in-person bilateral meetings took place in Malaysia,
28   Indonesia, Taiwan, China, United Kingdom, Singapore, South Korea, Japan, Thailand, Brazil,
                                                                                       Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED             - 36 -                   Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 38 of 75



 1   Mexico, and the United States.
 2           135.    The purpose of the bilateral discussions was to exchange information about past
 3   and future pricing, confirm production levels, share sales order information, confirm pricing
 4   rumors, and coordinate pricing with manufacturers in other geographic locations, including
 5   Brazil, Mexico, Europe, and the United States.
 6           136.    In order to ensure the efficacy of their global conspiracy, Defendants and their co-
 7   conspirators also used bilateral meetings to coordinate pricing with CRT manufacturers in Brazil,
 8   Mexico, and the United States, such as Philips Brazil, Samsung SDI Brazil and Samsung SDI
 9   Mexico. These Brazilian and Mexican manufacturers were particularly important because they
10   served the North American market for CRT Products. As further alleged herein, North America
11   was the largest market for CRT televisions and computer monitors during the Relevant Period.
12   Because these manufacturers are all wholly-owned and controlled subsidiaries of Philips and
13   Samsung SDI, they adhered to the unlawful price-fixing agreements. In this way, Defendants
14   and their co-conspirators ensured that prices of all CRTs sold in the United States were fixed,
15   raised, maintained and/or stabilized at supracompetitive levels.
16           137.    Defendants and co-conspirators also used bilateral discussions with each other
17   during price negotiations with customers to avoid being persuaded by customers to cut prices.
18   The information gained in these communications was then shared with supervisors and taken
19   into account in determining the price to be offered.
20           138.    Bilateral discussions were also used to coordinate prices with CRT manufacturers
21   that did not ordinarily attend the group meetings, such as Defendant Mitsubishi and co-
22   conspirators Hitachi, Toshiba, Panasonic and Samtel. It was often the case that in the few days
23   following a top or management meeting, the attendees at these group meetings would meet
24   bilaterally with the other conspirators for the purpose of communicating whatever CRT pricing
25   and/or output agreements had been reached during the meeting. For example, Samsung SDI had
26   a relationship with Hitachi and was responsible for communicating CRT pricing agreements to
27   Hitachi. LG Electronics had a relationship with Toshiba and was responsible for communicating
28   CRT pricing agreements to Toshiba. Similarly, Samsung SDI had regular communications with
                                                                                        Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED           - 37 -                      Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 39 of 75



 1   Defendant Mitsubishi. And Thai CRT had a relationship with Samtel and was responsible for
 2   communicating CRT pricing agreements to Samtel. Hitachi, Toshiba and Samtel implemented
 3   the agreed-upon pricing as conveyed by Samsung SDI, LG Electronics and Thai CRT.                  Other
 4   times, Hitachi and Toshiba attended the glass meetings. In this way, Hitachi, Toshiba and
 5   Samtel participated in the conspiracy to fix prices of CRTs.
 6                    3.      Defendants’ and Co-Conspirators’ Participation in Group and
 7                            Bilateral Discussions
 8                             a. Thomson’s Admitted Participation in the CRT Conspiracy
 9             139.   Thomson has admitted that it participated in the CRT price-fixing conspiracy. In
10   its 2011 Annual Report (released in late March 2012), Thomson told its shareholders and the
11   public:
                  On January 9, 2008, Thomson/Technicolor received a request under art 18 (2) of
12
                  Council Regulation n1/2003 from the European Commission (the “EC”) also
13                relating to the CRT industry. Thomson/Technicolor received three further
                  requests for information from the EC on January 16, 2009, January 19, 2009, and
14                September 15, 2009 respectively.               On November 25, 2009,
                  Thomson/Technicolor received a Statement of Objections (“SO”) from the
15                European Commission. On March 3, 2010, Thomson/Technicolor filed its
                  written response to the “SO.” On May 26 and 27, 2010, Thomson/Technicolor
16
                  attended an Oral Hearing together with the other parties and the European
17                Commission. Thomson/Technicolor stated that it played a minor role in the
                  alleged anticompetitive conduct.
18
     Technicolor Annual Report 2011, at 226 (emphasis added).           While Plaintiffs dispute that
19
     Thomson’s role in the CRT price-fixing conspiracy was minor and believes the evidence
20
     adduced to date demonstrates it was substantial, what cannot be contested is that Thomson by its
21
     own admission was one of the conspirators.
22
               140.    In December 2012, following an investigation of more than four years, the EC
23
     released its finding on the CRT price-fixing conspiracy.        It found that seven companies,
24
     including Thomson, participated in cartels lasting “almost ten years, between 1996 and 2006,” to
25
     fix the prices of CRTs. The EC concluded that “these companies fixed prices, shared markets,
26
     allocated customers between themselves and restricted their output.” The EC official responsible
27
     for competition policy described the CRT cartels as “textbook cartels [that] feature all the worst
28

                                                                                      Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED             - 38 -                  Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 40 of 75



 1   kinds of anticompetitive behavior.” Fines totaling €1,470,515,000 were assessed against the
 2   members of the CRT cartels, including a fine of €38,631,000 against Thomson, an amount which
 3   was reduced due to Thomson’s cooperation with the EC investigation. The EC investigation
 4   found that the CRT cartels “operated worldwide” and were “among the most organized cartels
 5   that the Commission has investigated.”
 6           141.    After the EC announced its finding that Thomson participated in the CRT price-
 7   fixing conspiracy and after Thomson paid the fine imposed by the EC, Thomson again
 8   acknowledged its participation in the conspiracy. In its 2012 Annual Report (released in late
 9   March 2013), Thomson informed its shareholders and the public that “[f]ollowing the European
10   Commission decision, purchasers may bring individual claims against the Company seeking
11   compensation for alleged loss suffered as a result of the anti-competitive conduct.” Technicolor
12   Annual Report 2012, at 216.
13           142.    Between at least 1995 and 2005, Thomson participated in and/or was a party to
14   over 15 bilateral meetings and over 25 group meetings, including “green meetings” in the United
15   States, with the Defendants and co-conspirators in which unlawful agreements as to, inter alia,
16   price, output restrictions, and/or customer and market allocation of CRTs occurred. These
17   meetings attended by Thomson occurred in the United States, Europe, Japan, and China, and
18   were also attended by representatives from Samsung SDI, MTPD, LPD, Philips, Toshiba, and
19   Chunghwa, among other co-conspirators.          The purpose of these meetings, and other
20   communications, between Thomson and the co-conspirators was to raise and stabilize the prices
21   and set supply levels of CRTs sold by Thomson and its competitors in North America, including
22   the United States. Documents reflect that these meetings among competitors did not occur in the
23   context of a customer-supplier relationship. Thomson also discussed with competitors CRT
24   prices, production, revenues, volumes, demand, inventories, estimated sales, plant shutdowns,
25   customer allocation, and new product development, including for North American CRTs. A
26   substantial number of these meetings were attended by high level sales, operations, and sourcing
27   managers from Thomson Consumer and/or Thomson SA. In addition to in-person meetings,
28   Thomson also communicated with its competitors over the telephone and by email.                     On
                                                                                    Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED        - 39 -                     Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 41 of 75



 1   information and belief, Plaintiffs anticipate additional evidence of Thomson’s conspiratorial
 2   meetings and/or communications with the Defendants and co-conspirators will be revealed
 3   through discovery of Thomson. As examples of Thomson’s active participation in a conspiracy
 4   to fix CRT prices during the Relevant Period:
 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28

                                                                                  Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED        - 40 -                   Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 42 of 75



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28

                                                                      Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED   - 41 -            Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 43 of 75



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25           143.    Thomson SA participated in the conspiracy in its own right and through its wholly
26   owned subsidiary, Thomson Consumer, through at least 2005, and participated thereafter through
27   Videocon, in which it retained a 13.1% ownership stake after selling its CRT business to
28   Videocon in 2005. Thomson SA maintained at least a 10% ownership interest in Videocon
                                                                                     Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED         - 42 -                     Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 44 of 75



 1   throughout the conspiracy period.       Thomson SA never effectively withdrew from this
 2   conspiracy.
 3           144.    Thomson Consumer directly participated in the conspiracy in the United States,
 4   which was Thomson’s largest market for CRTs. Between at least 1995 and 2005, Thomson
 5   Consumer knowingly participated in and/or was a party to bilateral and group meetings,
 6   including “green meetings” in the United States, in which unlawful agreements as to, inter alia,
 7   price, output restrictions, and/or customer and market allocation of U.S.-market CRTs occurred.
 8   As examples of Thomson Consumer’s active participation in a conspiracy to fix CRT prices
 9   during the Relevant Period:
10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28

                                                                                    Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED        - 43 -                     Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 45 of 75



 1

 2           145.
 3

 4

 5

 6

 7

 8           146.    Thomson Consumer knowingly participated in the conspiracy both in its own
 9   right and through its parent company Thomson SA, through at least 2005, and participated
10   thereafter through Videocon, in which Thomson SA maintained at least a 10% ownership interest
11   throughout the conspiracy period. Thomson Consumer never effectively withdrew from this
12   conspiracy.
13                            b.      Videocon’s Participation in the CRT Conspiracy
14           147.    Upon information and belief, between 2005 and 2007, Videocon participated in
15   several glass meetings and multiple bilateral meetings with its competitors, continuing the
16   practice established by Thomson.        These meetings were attended by high level sales and
17   marketing managers and executives from Videocon, including one Thomson employee who sat
18   on Videocon’s Board of Directors, and by employees who had previously attended meetings on
19   behalf of Thomson.         At these meetings, Videocon discussed such things as CRT prices,
20   production, revenues, volumes, demand, inventories, estimated sales, plant shutdowns, customer
21   allocation, and new product development, and agreed on prices and supply levels for CRT
22   Products. These meetings included discussions in which Videocon shared information with
23   competitors regarding the U.S. market for CRTs. Documents reflect that these meetings among
24   competitors did not occur in the context of a customer-supplier relationship.
25

26
27

28

                                                                                    Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED          - 44 -                   Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 46 of 75



 1

 2                            Videocon never effectively withdrew from this conspiracy.
 3                            c.      TDA’s Participation in the CRT Conspiracy
 4           148.    TDA was responsible for the sales and marketing of CRT Products in North
 5   America on behalf of its parent company, Videocon. Upon information and belief, Videocon
 6   dominated and/or controlled the finances, policies and/or affairs of TDA and directed its pricing
 7   of CRT Products sold to the North America market.
 8

 9                                                                            . Upon information and
10   belief, between 2005 and 2007, TDA (originally known as Thomson Displays Americas), and its
11   wholly owned Mexican subsidiary and co-conspirator Technologies Displays Mexicana,
12   knowingly participated in conspiracy meetings and/or were parties to the agreements entered at
13   them, individually and through their parent company Videocon. The prices established by TDA
14   were, thus, the product of conspiratorial communications between Videocon and TDA and their
15   co-conspirators.
16           149.    To the extent Thomson Consumer, TDA, and its Mexican subsidiary and co-
17   conspirator Technologies Displays Mexicana, distributed CRTs to direct purchasers, they played
18   a significant role in the conspiracy because Defendants wished to ensure that the prices for such
19   products paid by direct purchasers would not undercut the pricing agreements reached at these
20   various meetings. Thus, Thomson Consumer, TDA, and Technologies Displays Mexicana were
21   at those meetings and/or were parties to the agreements and were active, knowing participants in
22   this conspiracy.
23                            d.      Mitsubishi’s Participation in the CRT Conspiracy
24           150.    Between at least 1995 and 2005, Defendant Mitsubishi participated in multiple
25   bilateral and group meetings with its competitors, including but not limited to, co-conspirators
26   Samsung SDI, Toshiba, Chunghwa, and Hitachi. These meetings were attended by high level
27   sales managers and other senior executives from Mitsubishi. At these meetings, Mitsubishi
28   discussed such things as CRT prices, production, future production, revenues, volumes, demand,
                                                                                      Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED           - 45 -                    Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 47 of 75



 1   inventories, estimated sales, plant shutdowns, customer allocation, and new product
 2   development, and agreed on prices, customer allocations, and supply levels for CRTs.                In
 3   addition to in-person meetings, Mitsubishi also communicated with its competitors by telephone
 4   and email. Examples of Mitsubishi’s active participation in the conspiracy to fix CRT prices
 5   during the Relevant Period include, but are not limited to:
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28

                                                                                   Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED          - 46 -                  Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 48 of 75



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28

                                                                      Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED   - 47 -            Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 49 of 75



 1

 2

 3                                                                .
 4   All of the above acts, as well as others, were in furtherance of the conspiracy.
 5           151.
 6

 7

 8

 9

10

11

12                  e.        Co-conspirators’ Participation in the CRT Conspiracy
13           152.    Between at least 1996 and 2001, co-conspirator Hitachi, through Hitachi, Ltd.,
14   Hitachi Displays, Hitachi Shenzhen and Hitachi Asia, participated in several glass meetings.
15   These meetings were attended by high level sales managers from Hitachi. Hitachi also engaged
16   in multiple bilateral discussions with other participants, particularly with Samsung. Through
17   these discussions, Hitachi agreed on prices and supply levels for CRTs. Hitachi never effectively
18   withdrew from this conspiracy.
19           153.    Co-conspirators Hitachi America and HEDUS were represented at those meetings
20   and were a party to the agreements entered at them. To the extent Hitachi America and HEDUS
21   sold and/or distributed CRT Products to direct purchasers, they played a significant role in the
22   conspiracy because Defendants and their co-conspirators wished to ensure that the prices for
23   CRT Products paid by direct purchasers would not undercut the CRT pricing agreements reached
24   at the glass meetings. Thus, Hitachi America and HEDUS were active, knowing participants in
25   the alleged conspiracy.
26           154.    Between at least 1998 and 2007, co-conspirator IRICO, through IGC, IGE and
27   IDDC, participated in multiple glass meetings. These meetings were attended by the highest
28   ranking executives from IRICO. IRICO also engaged in multiple bilateral discussions with other
                                                                                        Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED          - 48 -                       Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 50 of 75



 1   participants, particularly with other Chinese manufacturers. Through these discussions, IRICO
 2   agreed on prices and supply levels for CRTs. None of IRICO’s conspiratorial conduct in
 3   connection with CRTs was mandated by the Chinese government. IRICO was acting to further
 4   its own independent private interests in participating in the alleged conspiracy.
 5           155.    Between at least 1995 and 2001, co-conspirator LG Electronics, through LGEI,
 6   participated in at least 100 glass meetings at all levels. After 2001, LG Electronics participated
 7   in the CRT conspiracy through its joint venture with Philips, LGPD (n/k/a LP Displays). A
 8   substantial number of these meetings were attended by the highest ranking executives from LG
 9   Electronics. LG Electronics also engaged in bilateral discussions with other participants on a
10   regular basis. Through these discussions, LG agreed on prices and supply levels for CRTs. LG
11   Electronics never effectively withdrew from this conspiracy.
12           156.    Co-conspirator LGEUSA was represented at those meetings and was a party to
13   the agreements entered at them. To the extent LGEUSA sold and/or distributed CRT Products, it
14   played a significant role in the conspiracy because Defendants and their co-conspirators wished
15   to ensure that the prices for CRT Products paid by direct purchasers would not undercut the CRT
16   pricing agreements reached at the glass meetings. Thus, LGEUSA was an active, knowing
17   participant in the alleged conspiracy.
18           157.    Between at least 2001 and 2006, co-conspirator LP Displays (f/k/a LGPD)
19   participated in at least 100 glass meetings at all levels. A substantial number of these meetings
20   were attended by the highest ranking executives from LP Displays. Certain of these high level
21   executives from LP Displays had previously attended meetings on behalf of LG Electronics and
22   Philips. LP Displays also engaged in bilateral discussions with other participants. Through these
23   discussions, LP Displays agreed on prices and supply levels for CRTs.
24           158.    Between at least 1996 and 2003, co-conspirator Panasonic, through Panasonic
25   Corporation and Matsushita Malaysia, participated in several glass meetings.               After 2003,
26   Panasonic participated in the CRT conspiracy through MTPD, its joint venture with Toshiba.
27   These meetings were attended by high level sales managers from Panasonic and MTPD.
28   Panasonic also engaged in multiple bilateral discussions with other participants. Through these
                                                                                        Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED          - 49 -                       Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 51 of 75



 1   discussions, Panasonic agreed on prices and supply levels for CRTs. Panasonic never effectively
 2   withdrew from this conspiracy.
 3           159.    PCNA was represented at those meetings and was a party to the agreements
 4   entered at them. To the extent PCNA sold and/or distributed CRT Products to direct purchasers,
 5   it played a significant role in the conspiracy because Defendants and their co-conspirators
 6   wished to ensure that the prices for CRT Products paid by direct purchasers would not undercut
 7   the CRT pricing agreements reached at the glass meetings. Thus, PCNA was an active, knowing
 8   participant in the alleged conspiracy.
 9           160.    Between at least 2003 and 2006, co-conspirator MTPD participated in multiple
10   glass meetings and in fact led many of these meetings during the latter years of the conspiracy.
11   These meetings were attended by high level sales managers from MTPD. MTPD also engaged
12   in bilateral discussions with other participants. Through these discussions, MTPD agreed on
13   prices and supply levels for CRTs.
14           161.    Between at least 1998 and 2007, co-conspirator BMCC participated in multiple
15   glass meetings. These meetings were attended by high level sales managers from BMCC.
16   BMCC also engaged in multiple bilateral discussions with other participants, particularly the
17   other Chinese CRT manufacturers. Through these discussions, BMCC agreed on prices and
18   supply levels for CRTs. None of BMCC’s conspiratorial conduct in connection with CRTs was
19   mandated by the Chinese government. BMCC was acting to further its own independent private
20   interests in participating in the alleged conspiracy.
21           162.    Between at least 1996 and 2001, co-conspirator Philips, through Royal Philips
22   and Philips Taiwan, participated in at least 100 glass meetings at all levels. After 2001, Philips
23   participated in the CRT conspiracy through its joint venture with LG Electronics, LGPD (n/k/a
24   LP Displays). A substantial number of these meetings were attended by high level executives
25   from Philips. Philips also engaged in numerous bilateral discussions with other participants.
26   Through these discussions, Philips agreed on prices and supply levels for CRTs. Philips never
27   effectively withdrew from this conspiracy.
28           163.    Co-conspirators Philips America and Philips Brazil were represented at those
                                                                                      Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED           - 50 -                    Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 52 of 75



 1   meetings and were a party to the agreements entered at them. To the extent Philips America and
 2   Philips Brazil sold and/or distributed CRT Products to direct purchasers, they played a
 3   significant role in the conspiracy because Defendants and their co-conspirators wished to ensure
 4   that the prices for CRT Products paid by direct purchasers would not undercut the CRT pricing
 5   agreements reached at the glass meetings. Thus, Philips America and Philips Brazil were active,
 6   knowing participants in the alleged conspiracy.
 7           164.    Between at least 1995 and 2007, co-conspirator Samsung SDI, through Samsung
 8   SDI, Samsung SDI Malaysia, Samsung SDI Shenzhen and Samsung SDI Tianjin, participated in
 9   at least 200 glass meetings at all levels. A substantial number of these meetings were attended
10   by the highest ranking executives from Samsung SDI. Samsung SDI also engaged in bilateral
11   discussions with each of the other participants on a regular basis. Through these discussions,
12   Samsung SDI agreed on prices and supply levels for CRTs.
13           165.    Co-conspirators Samsung SDI America, Samsung SDI Brazil and Samsung SDI
14   Mexico were represented at those meetings and were a party to the agreements entered at them.
15   Thus, Samsung SDI America, Samsung SDI Brazil and Samsung SDI Mexico were active,
16   knowing participants in the alleged conspiracy.
17           166.    Between at least 1998 and 2006, co-conspirator Samtel participated in multiple
18   bilateral discussions with other participants.    These meetings were attended by high level
19   executives from Samtel. Through these discussions, Samtel agreed on prices and supply levels
20   for CRTs. Samtel never effectively withdrew from this conspiracy.
21           167.    Between at least 1997 and 2006, co-conspirator Thai CRT participated in multiple
22   glass meetings. These meetings were attended by the highest ranking executives from Thai
23   CRT. Thai CRT also engaged in multiple bilateral discussions with other participants. Through
24   these discussions, Thai CRT agreed on prices and supply levels for CRTs. Thai CRT never
25   effectively withdrew from this conspiracy.
26           168.    Between at least 1995 and 2003, co-conspirator Toshiba, through TC, TDDT and
27   TEDI, participated in several glass meetings. After 2003, Toshiba participated in the CRT
28   conspiracy through MTPD, its joint venture with Panasonic. These meetings were attended by
                                                                                     Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED         - 51 -                     Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 53 of 75



 1   high level sales managers from Toshiba and MTPD. Toshiba also engaged in multiple bilateral
 2   discussions with other participants. Through these discussions, Toshiba agreed on prices and
 3   supply levels for CRTs. Toshiba never effectively withdrew from this conspiracy.
 4           169.    Co-conspirators Toshiba America, TACP, TAEC and TAIS were represented at
 5   those meetings and were a party to the agreements entered at them. To the extent Toshiba
 6   America, TACP, TAEC and TAIS sold and/or distributed CRT Products to direct purchasers,
 7   they played a significant role in the conspiracy because Defendants and their co-conspirators
 8   wished to ensure that the prices for CRT Products paid by direct purchasers would not undercut
 9   the CRT pricing agreements reached at the glass meetings. Thus, Toshiba America, TACP,
10   TAEC and TAIS were active, knowing participants in the alleged conspiracy.
11           170.    Between at least 1995 and 2006, co-conspirator Chunghwa, through Chunghwa
12   PT, Chunghwa Malaysia, and representatives from their factories in Fuzhuo (China) and
13   Scotland, participated in at least 100 glass meetings at all levels. A substantial number of these
14   meetings were attended by the highest ranking executives from Chunghwa, including the former
15   Chairman and CEO of Chunghwa PT, C.Y. Lin. Chunghwa also engaged in bilateral discussions
16   with other participants on a regular basis. Through these discussions, Chunghwa agreed on
17   prices and supply levels for CRTs.
18           171.    Between at least 1995 and 2004, co-conspirator Daewoo, through Daewoo
19   Electronics, Orion and DOSA, participated in at least 100 glass meetings at all levels. A
20   substantial number of these meetings were attended by the highest ranking executives from
21   Daewoo. Daewoo also engaged in bilateral discussions with other participants. Through these
22   discussions, Daewoo agreed on prices and supply levels for CRTs.             Bilateral discussions
23   involving Daewoo continued until Orion, its wholly-owned CRT subsidiary, filed for bankruptcy
24   in 2004. Daewoo never effectively withdrew from this conspiracy.
25           172.    When Plaintiffs refer to a corporate family or companies by a single name in their
26   allegations of participation in the conspiracy, Plaintiffs are alleging that one or more employees
27   or agents of entities within the corporate family engaged in conspiratorial meetings on behalf of
28   every company in that family. In fact, the individual participants in the conspiratorial meetings
                                                                                      Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED          - 52 -                     Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 54 of 75



 1   and discussions did not always know the corporate affiliation of their counterparts, nor did they
 2   distinguish between the entities within a corporate family. The individual participants entered
 3   into agreements on behalf of, and reported these meetings and discussions to, their respective
 4   corporate families. As a result, the entire corporate family was represented in meetings and
 5   discussions by their agents and were parties to the agreements reached in them.
 6          E.         The CRT Market During the Conspiracy
 7          173.       Until the last few years of the CRT conspiracy, CRTs were the dominant
 8   technology used in displays, including televisions and computer monitors. During the Relevant
 9   Period, this translated into the sale of millions of CRT Products, generating billions of dollars in
10   annual profits.
11          174.       The following data was reported by Stanford Resources, Inc., a market research
12   firm focused on the global electronic display industry:
13        Year               Units Sold             Revenue                   Average Selling
                             (millions)             (billion US dollars)      Price Per Unit
14        1998               90.5                   $18.9                     $208
15        1999               106.3                  $19.2                     $181
          2000               119.0                  $28.0 1                   $235
16
            175.       During the Relevant Period, North America was the largest market for CRT TVs
17
     and computer monitors. According to a report published by Fuji Chimera Research, the 1995
18
     worldwide market for CRT monitors was 57.8 million units, 28 million of which (48.5 percent)
19
     were consumed in North America. By 2002, North America still consumed around 35 percent of
20
     the world’s CRT monitor supply. See, The Future of Liquid Crystal and Related Display
21
     Materials, Fuji Chimera Research, 1997, p.12.
22
            176.       Defendants’ and co-conspirators’ collusion is evidenced by unusual price
23
     movements in the CRT Product market during the Relevant Period. In the 1990s, industry
24
     analysts repeatedly predicted declines in consumer prices for CRT Products that did not fully
25
     materialize. For example, in 1992, an analyst for Market Intelligent Research Corporation
26
     predicted that “[e]conomies of scale, in conjunction with technological improvements and
27

28   1
              Estimated market value of CRT units sold.
                                                                                       Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED         - 53 -                       Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 55 of 75



 1   advances in manufacturing techniques, will produce a drop in the price of the average electronic
 2   display to about $50 in 1997.”         Despite such predictions, and the existence of economic
 3   conditions warranting a drop in prices, CRT Product prices nonetheless remained stable.
 4           177.    In 1996, another industry source noted that “the price of the 14” tube is at a
 5   sustainable USD50 and has been for some years . . . .”
 6           178.    In early 1999, despite declining production costs and the rapid entry of flat panel
 7   display products, the price of large sized color CRTs actually rose. The price increase was
 8   allegedly based on increasing global demand. In fact, this price increase was a result of the
 9   collusive conduct as herein alleged.
10           179.    After experiencing oversupply of 17” CRTs in the second half of 1999, the
11   average selling price of CRTs rose again in early 2000. A March 13, 2000 article in Infotech
12   Weekly quoted an industry analyst as saying that this price increase was “unlike most other PC-
13   related products.”
14           180.    A BNET Business Network news article from August 1998 reported that “key
15   components (cathode ray tubes) in computer monitors have risen in price. ‘Although several
16   manufacturers raised their CRT prices in the beginning of August, additional CRT price
17   increases are expected for the beginning of October . . . . While computer monitor price increases
18   may be a necessary course of action, we [CyberVision, a computer monitor manufacturer] do not
19   foresee a drop in demand if we have to raise our prices relative to CRT price increases.’”
20           181.    A 2004 article from Techtree.com reports that various computer monitor
21   manufacturers, including LG Electronics, Philips and Samsung, were raising the price of their
22   monitors in response to increases in CRT prices caused by an alleged shortage of glass shells
23   used to manufacture the tubes. Philips is quoted as saying that, “It is expected that by the end of
24   September this year [2004] there will be [a] 20% hike in the price of our CRT monitors.”
25           182.    Defendants and co-conspirators also conspired to limit production of CRTs by
26   shutting down production lines for days at a time, and closing or consolidating their
27   manufacturing facilities.
28           183.    For example, CRT factory utilization percentage fell from 90% in the third
                                                                                       Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED           - 54 -                     Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 56 of 75



 1   quarter of 2000 to 62% in the first quarter of 2001. This is the most dramatic example of a drop
 2   in factory utilization. There were sudden drops throughout the Relevant Period but to a lesser
 3   degree. Plaintiffs are informed and believe that these sudden, coordinated drops in factory
 4   utilization by Defendants and co-conspirators were the result of agreements to decrease output in
 5   order to stabilize the prices of CRTs.
 6           184.    During the latter part of the Relevant Period, while demand in the United States
 7   for CRT Products declined, the conspiracy was effective in moderating the normal downward
 8   pressures on prices for CRT Products caused by the entry and popularity of the new generation
 9   LCD panels and plasma display products.         As Finsen Yu, President of Skyworth Macao
10   Commercial Offshore Co., Ltd., a television maker, was quoted in January of 2007: “[t]he CRT
11   technology is very mature; prices and technology have become stable.”
12           185.    During the Relevant Period, there were not only periods of unnatural and
13   sustained price stability, but there were also increases in prices of CRTs and CRT Products.
14   These price increases were despite the declining demand due to the approaching obsolescence of
15   CRT Products caused by the emergence of a new, potentially superior and clearly more popular,
16   substitutable technology.
17           186.    These price increases and price stability in the market for CRT Products during
18   the Relevant Period are inconsistent with a competitive market for a product facing rapidly
19   decreasing demand caused by a new, substitutable technology.
20           F.      International Government Antitrust Investigations of the CRT Conspiracy
21           187.    Defendants’ and co-conspirators’ conspiracy to fix, raise, maintain and stabilize
22   the prices of, and restrict output for, CRTs sold in the United States during the Relevant Period,
23   has been and the subject of a multinational investigation commenced by the Antitrust Division of
24   the United States DOJ.
25           188.    Separately, the European Commission and Japan and South Korea’s Fair Trade
26   Commissions also opened investigations into illegal price-fixing of CRTs that were being sold in
27   Europe and Asia.
28           189.     In its 2008 Annual Report, co-conspirator Toshiba reports that “[t]he Group is
                                                                                      Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED         - 55 -                      Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 57 of 75



 1   also being investigated by the [European] Commission and/or the U.S. Department of Justice for
 2   potential violations of competition laws with respect to semiconductors, LCD products, cathode
 3   ray tubes (CRT) and heavy electrical equipment.”
 4           190.    On May 6, 2008, the Hungarian Competition Authority (“HCA”) announced its
 5   own investigation into the CRT cartel. The HCA described the cartel as follows:
 6                            The Hungarian Competition Authority (Gazdasági Versenyhivatal –
                              GVH) initiated a competition supervision proceeding against the
 7                            following undertakings: Samsung SDI Co., Ltd., Samsung SDI
                              Germany GmbH, Samsung SDI Magyarország Zrt., Thomson TDP
 8
                              sp. Z.o.o., LG Philips Displays Czech Republic s.r.o.., LP Displays,
 9                            Chunghwa Pictures Tubes (UK) Ltd, Chunghwa Pictures Tubes Ltd,
                              Daewoo Orion S.A., Daewoo Electronics Global HQ, Daewoo
10                            Electronics European HQ, MT Picture Display Germany GmbH,
                              Matsushita Global HQ, Matsushita European HQ.
11
                              Based on the data available the undertakings mentioned above
12
                              concerted their practice regarding the manufacturing and distribution
13                            of cathode-ray tubes (including coloured pictures tubes and coloured
                              screen tubes) on the European market between 1995 and 2007. The
14                            anti-competitive behaviour may have concerned the exchange of
                              sensitive market information (about prices, volumes sold, demand
15                            and the extent to which capacities were exploited), price-fixing, the
                              allocation of market shares, consumers and volumes to be sold, the
16
                              limitation of output and coordination concerning the production. The
17                            undertakings evolved a structural system and functional mechanism
                              of cooperation.
18
                              According to the available evidences it is presumable that the
19                            coordination of European and Asian undertakings regarding to the
20                            European market also included Hungary from 1995 to 2007. The
                              coordination concerning the Hungarian market allegedly formed part
21                            of the European coordination. Samsung SDI Magyarország. was
                              called into the proceeding since it manufactured and sold cathode-
22                            ray tubes in Hungary in the examined period, and it allegedly
                              participated in the coordination between its parent companies.
23

24           191.    On February 10, 2009, the DOJ issued a press release announcing that a federal

25   grand jury in San Francisco had that same day returned a two-count indictment against the

26   former Chairman and Chief Executive Officer of Chunghwa, Cheng Yuan Lin a/k/a C.Y. Lin, for

27   his participation in global conspiracies to fix the prices of two types of CRTs used in computer

28   monitors and televisions. The press release notes that “[t]his is the first charge as a result of the

                                                                                        Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED           - 56 -                      Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 58 of 75



 1   Antitrust Division’s ongoing investigation into the cathode ray tubes industry.” The press
 2   release further notes that Lin had previously been indicted for his participation in a conspiracy to
 3   fix the prices of TFT-LCDs. Mr. Lin’s indictment states that the combination and conspiracy to
 4   fix the prices of CRTs was carried out, in part, in California.
 5           192.    On August 19, 2009, the DOJ issued a press release announcing that a federal
 6   grand jury in San Francisco had the previous night returned a one-count indictment against Wu
 7   Jen Cheng a/k/a Tony Cheng for his participation in a global conspiracy to fix the prices of
 8   CDTs, the type of CRT used in computer monitors. Tony Cheng formerly was an assistant Vice-
 9   President of Sales and Marketing at Chunghwa. The press release notes that Cheng previously
10   had been indicted for his participation in a conspiracy to fix the prices of TFT-LCDs. Mr.
11   Cheng’s indictment states that the combination and conspiracy to fix the prices of CRTs was
12   carried out, in part, in California.
13           193.    On March 30, 2010, the DOJ issued a press release announcing that a federal
14   grand jury in San Francisco had that same day returned a one-count indictment against Chung
15   Cheng Yeh a/k/a Alex Yeh for his participation in a global conspiracy to fix the prices of CDTs,
16   the type of CRT used in computer monitors. The press release identifies Yeh as a “former
17   director of sales” at “a large-Taiwan based color display tube (CDT) manufacturer.”                    The
18   indictment states that the combination and conspiracy to fix the prices of CRTs was carried out,
19   in part, in California.
20           194.    On November 9, 2010, the DOJ issued a press release announcing that a federal
21   grand jury in San Francisco had that same day returned a one-count indictment against Seung-
22   Kyu Lee a/k/a Simon Lee, Yeong-Ug Yang a/k/a Albert Yang, and Jae-Sik Kim a/k/a J.S. Kim
23   for their participation in a global conspiracy to fix the prices of CDTs, the type of CRT used in
24   computer monitors. The press release identifies Lee, Yang, and Kim as “former executives from
25   two color display tube (CDT) manufacturing companies.”            The indictment states that the
26   combination and conspiracy to fix the prices of CRTs was carried out, in part, in California.
27           195.    On March 18, 2011, the DOJ issued a press release announcing that it had reached
28   an agreement with co-conspirator Samsung SDI in which it would plead guilty and pay a $32
                                                                                        Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED           - 57 -                      Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 59 of 75



 1   million fine for its role in a conspiracy to fix prices of CDTs.
 2           196.    Samsung SDI admitted that from at least as early as January 1997 until at least as
 3   late as March 2006, it participated in a conspiracy among major CDT producers to fix prices,
 4   reduce output, and allocate market shares of CDTs sold in the United States and elsewhere.
 5   Samsung SDI admitted that in furtherance of the conspiracy it, through its officers and
 6   employees, engaged in discussions and attended meetings with representatives of other major
 7   CDT producers. During these discussions and meetings, agreements were reached to fix prices,
 8   reduce output, and allocate market shares of CDTs to be sold in the United States and elsewhere.
 9   Samsung SDI further admitted that acts in furtherance of the conspiracy were carried in
10   California.
11           197.    The plea agreement of Samsung SDI requires that it cooperate with the DOJ’s
12   ongoing investigation of federal antitrust and related criminal laws involving the manufacture or
13   sale of CDTs and CPTs.
14           198.    As described above, in December 2012 the European Commission announced that
15   it fined seven companies for participating in cartels to fix the prices of CRTs lasting almost ten
16   years: Thomson, Samsung SDI, Philips, LG Electronics, Toshiba, Panasonic, and MTPD. The
17   EC concluded that “the cartelists carried out the most harmful anti-competitive practices
18   including price fixing, market sharing, customer allocation, capacity and output coordination and
19   exchanges of commercial sensitive information.”
20           G.      Effects of the CRT Conspiracy
21                   1.       Examples of Reductions in Manufacturing Capacity
22           199.    During the Relevant Period, the conspirators conspired to limit production of
23   CRTs by shutting down production lines for days at a time and closing or consolidating
24   manufacturing facilities.
25           200.    In December of 2004, MTPD closed its American subsidiary’s operations in
26   Horseheads, New York, citing price and market erosion. Panasonic announced that the closing
27   was part of the company’s “global restructuring initiatives in the CRT business.” The company
28   further stated that in the future, “CRTs for the North American market will be supplied by other
                                                                                      Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED           - 58 -                    Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 60 of 75



 1   manufacturing locations in order to establish an optimum CRT manufacturing structure.”
 2           201.    In July of 2005, LGPD ceased CRT production at its Durham, England facility,
 3   citing a shift in demand from Europe to Asia.
 4           202.    In December of 2005, MTPD announced that it would close its American
 5   subsidiary’s operations in Ohio, as well as operations in Germany, by early 2006. Like LG
 6   Philips, the company explained that it was shifting its CRT operations to Asian and Chinese
 7   markets.
 8           203.    In late 2005, Samsung SDI followed the lead of other manufacturers, closing its
 9   CRT factory in Germany.
10           204.    In July of 2006, Orion shut down a CRT manufacturing plant in Princeton,
11   Indiana. The same month, Panasonic announced it was shutting down its CRT factory in
12   Malaysia and liquidating its joint venture with Toshiba.
13                   2.       Examples of Collusive Pricing for CRTs
14           205.    Defendants’ collusion is evidenced by unusual price movements in the CRT
15   market. In the 1990s, industry analysts repeatedly predicted declines in consumer prices for
16   CRTs that did not fully materialize. For example, in 1992, an analyst for Market Intelligent
17   Research Corporation predicted that “[e]conomies of scale, in conjunction with technological
18   improvements and advances in manufacturing techniques, will produce a drop in the price of the
19   average electronic display to about $50 in 1997.” Despite such predictions, and the existence of
20   economic conditions warranting a drop in prices, CRT prices nonetheless remained stable.
21           206.    In 1996, another industry source noted that “the price of the 14” tube is at a
22   sustainable USD50 and has been for some years . . . .”
23           207.    In reality, prices for CRTs never approached $50 in 1997, and were consistently
24   more than double this price.
25           208.    Despite the ever-increasing popularity of, and intensifying competition from, flat
26   panel monitors, prices for CRT monitors were “stuck stubbornly at high price levels” throughout
27   1995 according to a CNET News.com article. This price stabilization was purportedly due
28   exclusively to a shortage of critical components such as glass. This was a pretext used to conceal
                                                                                      Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED            - 59 -                   Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 61 of 75



 1   the conspiracy.
 2           209.    Prices for CRT monitors did fall sharply as a result of the Asian economic crisis
 3   of 1998, which severely devalued Asian currencies. This prompted the keynote speaker at Asia
 4   Display 1998, an annual conference for the display industry, to state:
 5
             We believe that now is the time to revise our strategic plan in order to survive in his
 6
             tough environment and also to prepare for the coming years. This means that we
 7
             have to deviate from the traditional approach of the simple scale up of production
 8
             volume.
 9

10           210.    In early 1999, despite declining production costs and the rapid entry of flat panel

11   display products, the price of large-sized color CRTs actually rose. The price increase was

12   allegedly based on increasing global demand for the products. In fact, this price rise was the

13   result of collusive conduct amongst Defendants.

14           211.    After experiencing an oversupply of 17” CRTs in the second half of 1999, the

15   average selling price of CRTs rose again in early 2000. A March 13, 2000 article quoted an

16   industry analyst as saying that this price increase was “unlike most other PC-related products.”

17           212.    On June 1, 2004, LG Electronics raised the prices of its 15” and 17” CRT

18   monitors in India. This price hike was falsely attributed exclusively to a shortage of glass

19   needed to manufacture CRTs.

20           213.    Over the course of the Relevant Period, the price of CRTs remained stable, and in

21   some instances went up in an unexplained manner, despite the natural trend in most technology

22   products to go down over time. CRT technology was mature, and the costs of production were

23   relatively low compared to other emerging technologies. As Finsen Yu, President of Skyworth

24   Macao Commercial Off Shore Co., Ltd, a television maker, was quoted as saying in January of

25   2007, “[t]he CRT technology is very mature; prices and technology have become stable.”

26           214.    CRT prices resisted downward price pressures and remained stable over a period

27   of many years. Even in periods of decreasing prices caused by outside factors, such as the Asian

28   currency crisis, the prices of CRT Products did not decline as much as they would have absent

                                                                                        Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED           - 60 -                      Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 62 of 75



 1   the conspiracy. The stability of the price of CRTs was accomplished by the collusive activities
 2   alleged above.
 3                    3.      Summary Of Effects Of The Conspiracy Involving CRTs
 4             215.   The above combination and conspiracy has had the following effects, among
 5   others:
 6                             a. Price competition in the sale of CRTs by Defendants and their co-
 7                                 conspirators has been restrained, suppressed and eliminated
 8                                 throughout the United States;
 9                             b. Prices for CRTs in CRT Products sold by Defendants to Plaintiffs
10                                 directly and indirectly have been raised, fixed, maintained and
11                                 stabilized at artificially high and noncompetitive levels throughout the
12                                 United States; and
13                             c. Plaintiffs were deprived of the benefit of free and open competition in
14                                 the purchase of CRT Products.
15                             d. As a direct and proximate result of the unlawful conduct of
16                                 Defendants, Plaintiffs were injured in their businesses and property in
17                                 that they paid more for CRT Products than they otherwise would have
18                                 paid in the absence of the unlawful conduct of Defendants.
19   VII.      PLAINTIFFS’ INJURIES
20             216.   As a purchaser of computer monitors, TVs and other devices that contained
21   CRTs, Plaintiffs suffered a direct, substantial and reasonably foreseeable injury as a result of
22   Defendants’ conspiracy to raise, fix, stabilize or maintain the price of CRTs at supra-competitive
23   levels. Defendants’ conspiracy artificially inflated the price of CRTs causing Plaintiffs to pay
24   higher prices than they would have in the absence of Defendants’ conspiracy.
25             217.   Plaintiffs also purchased CRT Products containing CRTs from OEMs as well as
26   others, which in turn purchased CRTs from Defendants and their co-conspirators. Defendants’
27   conspiracy affected and artificially inflated the price of CRTs purchased by these OEMs and
28   others, which paid higher prices for CRTs than they would have absent the conspiracy. The
                                                                                          Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED               - 61 -                    Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 63 of 75



 1   conspiracy artificially inflated the prices of CRTs included in CRT Products.
 2             218.   The OEMs and others passed on to their customers, including Plaintiffs, the
 3   overcharges caused by Defendants’ conspiracy. Plaintiffs were not able to pass on to their
 4   customers the overcharges caused by Defendants’ conspiracy. Thus, Plaintiffs suffered injury
 5   when they purchased CRT Products containing such price-fixed CRTs from the OEMs and
 6   others.
 7             219.   Once a CRT leaves its place of manufacture, it remains essentially unchanged as
 8   it moves through the distribution system. CRTs are identifiable, discrete physical objects that do
 9   not change form or become an indistinguishable part of a CRT Product. Thus, CRTs follow a
10   physical chain from Defendants through manufacturers of CRT Products sold to Plaintiffs.
11             220.   The market for CRTs and the market for CRT Products are inextricably linked
12   and cannot be considered separately. Defendants are well aware of this intimate relationship.
13             221.   Throughout the Relevant Period, Defendants and their co-conspirators controlled
14   the market for CRTs. Consequently, during the Relevant Period, the OEMs had no choice but to
15   purchase CRTs from Defendants and others at prices that were artificially inflated, fixed and
16   stabilized by Defendants’ conspiracy.
17             222.   As a result, Plaintiffs were injured in connection with its purchases of CRT
18   Products during the Relevant Period.
19   VIII. FRAUDULENT CONCEALMENT
20             223.   Plaintiffs had neither actual nor constructive knowledge of the facts supporting its
21   claims for relief despite diligence in trying to discover the pertinent facts. Plaintiffs did not
22   discover, and could not have discovered through the exercise of reasonable diligence, the
23   existence of the conspiracy alleged herein. Defendants engaged in a secret conspiracy that did
24   not give rise to facts that would put Plaintiffs on inquiry notice that there was a conspiracy to fix
25   the prices of CRTs.
26             224.   Because Defendants’ agreement, understanding and conspiracy were kept secret,
27   Plaintiffs were unaware of Defendants’ unlawful conduct alleged herein and did not know that it
28   was paying artificially high prices for CRT Products.
                                                                                         Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED            - 62 -                      Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 64 of 75



 1           225.    The affirmative acts of Defendants alleged herein, including acts in furtherance of
 2   the conspiracy, were wrongfully concealed and carried out in a manner that precluded detection.
 3   As noted above, Defendants and their co-conspirators organized glass meetings to avoid
 4   detection, conducted bilateral meetings in secret and agreed at glass meetings to orchestrate the
 5   giving of pretextual reasons for their pricing actions and output restrictions. Defendants and
 6   their co-conspirators would coordinate and exchange in advance the texts of the proposed
 7   communications with customers containing these pretextual statements and would coordinate
 8   which co-conspirator would first communicate these pretextual statements to customers.
 9           226.    By its very nature, Defendants’ price-fixing conspiracy was inherently self-
10   concealing.
11           227.    Plaintiffs could not have discovered the alleged contract, conspiracy or
12   combination at an earlier date by the exercise of reasonable diligence because of the deceptive
13   practices and techniques of secrecy employed by Defendants and their co-conspirators to avoid
14   detection of, and fraudulently conceal, their contract, conspiracy or combination. The contract,
15   conspiracy or combination as herein alleged was fraudulently concealed by Defendants by
16   various means and methods, including, but not limited to, secret meetings, surreptitious
17   communications between Defendants by the use of the telephone or in-person meetings in order
18   to prevent the existence of written records, discussion on how to evade antitrust laws and
19   concealing the existence and nature of their competitor pricing discussions from non-
20   conspirators (including customers).
21           228.    Defendants and their co-conspirators agreed not to publicly discuss the existence
22   or nature of the conspiracy or their agreements. Meetings related to CDTs and CPTs were held
23   separately to avoid detection. Participants at glass meetings were also told not to take minutes.
24   Attending companies also reduced the number of their respective attendees to maintain secrecy.
25   During these meetings, top executives and other officials attending these meetings were
26   instructed on more than once occasion not to disclose the fact of these meetings to outsiders, or
27   even to other employees of Defendants not involved in CRT pricing or production. In fact, the
28   top executives who attended conspiracy meetings agreed to stagger their arrivals and departures
                                                                                       Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED          - 63 -                      Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 65 of 75



 1   at such meetings to avoid being seen in public with each other and with the express purpose and
 2   effect of keeping them secret.
 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28

                                                                                    Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED        - 64 -                     Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 66 of 75



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27           231.    Defendants also agreed at glass meetings and bilateral meetings to give pretextual
28   reasons for price increases and output reductions to their customers.
                                                                                      Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED          - 65 -                     Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 67 of 75



 1           232.    As alleged above, in early 1999, despite declining production costs and the rapid
 2   entry of flat panel display products, the price of large-sized color CRTs actually rose. The price
 3   increase was allegedly based on increasing global demand for the products. In fact, this price
 4   rise was the result of collusive conduct amongst Defendants, which was undisclosed at the time.
 5           233.    As alleged above, despite increased competition from flat panel monitors, prices
 6   for CRT monitors were stuck stubbornly at high price levels throughout 2001. This price
 7   stabilization was purportedly due exclusively to a shortage of critical components such as glass.
 8   This was a pretext used to cover up the conspiracy.
 9           234.    In addition, when several CRT manufacturers, including Samsung, Philips and
10   LG Electronics, increased the price of CRTs in 2004, the price hike was blamed on a shortage of
11   glass shells use for manufacturing CRT monitors. In justifying this price increase, a Deputy
12   General Manager for an LG Electronics distributor in India stated, “[t]his shortage [of glass
13   shells] is a global phenomena and every company has to increase the prices of CRT monitors in
14   due course of time.”
15           235.    Manufacturers such as LG Electronics periodically issued press statements falsely
16   asserting that CRT prices were being driven lower by intense competition.
17           236.    Plaintiffs are informed and believe, and thereon allege, that the purported reasons
18   for the price increases of CRTs were materially false and misleading and made for the purpose of
19   concealing the conspirators’ anti-competitive scheme as alleged herein.
20           237.    As a result of Defendants’ and their co-conspirators’ fraudulent concealment of
21   their conspiracy, the running of any statute of limitations has been tolled with respect to any
22   claims that Plaintiffs have as a result of the anticompetitive conduct alleged in this complaint.
23   IX.     TOLLING
24           238.    As discussed at length in Paragraphs 191-197 above, the United States
25   Department of Justice instituted criminal proceedings and investigations against several
26   participants in the conspiracy commencing on at least February 10, 2009. Plaintiffs’ claims were
27   tolled during these criminal proceedings pursuant to 15 U.S.C. § 16.
28           239.    Plaintiffs’ claims were tolled under American Pipe & Construction Co. v. Utah,
                                                                                        Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED           - 66 -                      Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 68 of 75



 1   414 U.S. 538 (1974), and related authorities recognizing cross-jurisdictional tolling during the
 2   pendency of the Direct Purchaser Class actions asserted against the participants in the CRT
 3   price-fixing scheme and commenced on at least November 26, 2007. Plaintiffs were members of
 4   the Direct Purchaser Class Actions, including, but not limited to, the following Complaints:
 5                           Crago, Inc. v. Chunghwa Picture Tubes, Ltd., et al., No. 3:07-cv-05944-
 6                            SC (Dkt. No. 1) (N.D. Cal. Nov. 26, 2007);
 7                           Radio & TV Equipment, Inc. v. Chunghwa Picture Tubes, Ltd., No. 2:08-
 8                            cv-00542-JAG, (D. N.J. Jan. 28, 2008);
 9                           Sound Investments Corp. v. Chunghwa Picture Tubes, Ltd., No. 2:08-cv-
10                            00543-JAG (D. N.J. Jan. 28, 2008); and
11                           Direct Purchaser Plaintiffs’ Consolidated Amended Complaint, No. 3:07-
12                            cv-05944-SC (Dkt. No. 436) (N.D. Cal. Mar. 16, 2009).
13   X.        CLAIM FOR VIOLATIONS
14                                          First Claim for Relief
15                                (Violation of Section 1 of the Sherman Act)
16             240.   Plaintiffs incorporate by reference all the above allegations as if fully set forth
17   herein.
18             241.   Beginning no later than March 1, 1995, the exact date being unknown to Plaintiffs
19   and exclusively within the knowledge of Defendants, Defendants and their co-conspirators
20   entered into a continuing contract, combination or conspiracy to unreasonably restrain trade and
21   commerce in violation of Section 1 of the Sherman Act (15 U.S.C. § 1) by artificially reducing or
22   eliminating competition in the United States.
23             242.   In particular, Defendants and their co-conspirators combined and conspired to
24   raise, fix, maintain, or stabilize the prices of CRTs sold in the United States.
25             243.   As a result of Defendants’ unlawful conduct, prices for CRTs were raised, fixed,
26   maintained and stabilized in the United States.
27             244.   The contract, combination or conspiracy among Defendants consisted of a
28   continuing agreement, understanding, and concerted action among Defendants and their co-
                                                                                         Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED            - 67 -                      Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 69 of 75



 1   conspirators.
 2           245.    For purposes of formulating and effectuating their contract, combination or
 3   conspiracy, Defendants and their co-conspirators did those things they contracted, combined, or
 4   conspired to do, including:
 5                               a. participating in meetings and conversations to discuss the prices and
 6                                   supply of CRTs;
 7                               b. communicating in writing and orally to fix target prices, floor prices
 8                                   and price ranges for CRTs;
 9                               c. agreeing to manipulate prices and supply of CRTs sold in the United
10                                   States in a manner that deprived direct purchasers of free and open
11                                   competition;
12                               d. issuing price announcements and price quotations in accordance
13                                   with the agreements reached;
14                               e. selling CRTs to customers in the United States at noncompetitive
15                                   prices;
16                               f. exchanging competitively sensitive information in order to facilitate
17                                   their conspiracy;
18                               g. agreeing to maintain or lower production capacity; and
19                               h. providing false statements to the public to explain increased prices
20                                   for CRTs.
21           246.    As a result of Defendants’ unlawful conduct, Plaintiffs were injured in their
22   businesses and property in that they paid more for CRT Products than they otherwise would have
23   paid in the absence of Defendants’ unlawful conduct.
24                                             Second Claim for Relief
25                                     (Violation of State Antitrust Laws)
26           247.    Plaintiffs incorporate and reallege, as though fully set forth herein, each and every
27   allegation set forth in the preceding paragraphs of this Complaint.
28           248.    During the Relevant Period, Defendants and their co-conspirators entered into and
                                                                                         Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED              - 68 -                    Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 70 of 75



 1   engaged in a continuing unlawful trust in restraint of the trade and commerce described above in
 2   violation of the state antitrust laws referenced below. Defendants and their co-conspirators have
 3   each acted in violation of these state laws in their efforts to fix, raise, subsidize and maintain
 4   prices of, and allocate markets for, CRTs at supra-competitive levels. Defendants’ and their co-
 5   conspirators’ conduct substantially affected commerce in these states.
 6              249.   The aforesaid violations consisted, without limitation, of a continuing unlawful
 7   trust and concert of action among Defendants and their co-conspirators, the substantial terms of
 8   which were to fix, raise, maintain and stabilize the price of CRTs.
 9              250.   For the purpose of forming and effectuating the unlawful trust, Defendants and
10   their co-conspirators have done those things which they combined and conspired to do,
11   including, but in no way limited to, the actions, practices and course of conduct set forth above
12   and the following:
13                            a. to fix, raise, maintain and stabilize the price of CRTs;
14                            b. to allocate the market for CRTs amongst themselves;
15                            c. to submit rigged bids for the award and performance of certain CRT
16                                contracts; and
17                            d. to allocate among themselves the production of CRTs.
18              251.   The combination and conspiracy alleged herein has had, inter alia, the following
19   effects:
20                            a. price competition in the sale of CRTs has been restrained, suppressed,
21                                and/or eliminated in the states listed below;
22                            b. prices for CRTs sold by Defendants, their co-conspirators, and others
23                                have been fixed, raised, maintained and stabilized at artificially high,
24                                non-competitive levels in the states listed below; and
25                            c. those who purchased CRTs from Defendants, their co- conspirators
26                                and others and CRT Products containing price-fixed CRTs from
27                                Defendants, their co-conspirators and others have been deprived of the
28                                benefits of free and open competition.
                                                                                          Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED            - 69 -                       Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 71 of 75



 1           252.     As a result of the alleged conduct Defendants and their co-conspirators, Plaintiffs
 2   paid supra-competitive, artificially inflated prices for CRT Products they purchased during the
 3   Relevant Period.
 4           253.     By reason of the foregoing, Defendants and their co-conspirators, have entered
 5   into an agreement in restraint of trade in violation of Ariz. Rev. Stat. §§ 44-1401, et seq.:
 6                            a. Defendants     and    their   co-conspirators’   conspiracy         restrained,
 7                                suppressed and/or eliminated competition in the sale of CRTs in
 8                                Arizona and fixed, raised, maintained and stabilized CRT prices in
 9                                Arizona at artificially high, non-competitive levels;
10                            b. As a result, Defendants’ and their co-conspirators’ conspiracy
11                                substantially affected Arizona commerce;
12                            c. During the Relevant Period, MARTA purchased CRT Products
13                                containing priced fixed CRTs in Arizona, and, as a result, MARTA is
14                                entitled to the protection of the laws of Arizona; and
15                            d. As a direct and proximate result of Defendants’ and their co-
16                                conspirators’ conduct, MARTA has been injured in its business and
17                                property by paying more for CRT Products containing CRTs
18                                manufactured by Defendants, their co-conspirators, and others than it
19                                would have paid in the absence of Defendants’ and their co-
20                                conspirators’ combination and conspiracy, and is therefore entitled to
21                                damages and the costs of suit, including reasonable attorneys’ fees,
22                                pursuant to Ariz. Rev. Stat §§ 44-1408(B).
23           254.     By reason of the foregoing, Defendants and their co-conspirators have entered
24   into an agreement in restraint of trade in violation of the Illinois Antitrust Act, 740 Ill. Code
25   10/1, et seq.:
26                            a. Defendants     and    their   co-conspirators'   conspiracy         restrained,
27                                suppressed and/or eliminated competition in the sale of CRTs in
28                                Illinois and fixed, raised, maintained and stabilized CRT prices in
                                                                                          Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED             - 70 -                      Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 72 of 75



 1                                Illinois at artificially high, non-competitive levels;
 2                            b. As a result, Defendants and their co-conspirators' conspiracy
 3                                substantially affected Illinois commerce;
 4                            c. During the Relevant Period, MARTA purchased CRT Products
 5                                containing price-fixed CRTs in Illinois, and, as a result, MARTA is
 6                                entitled to the protection of the laws of Illinois; and
 7                            d. As a direct and proximate result of Defendants' and their co-
 8                                conspirators' conduct, MARTA has been injured in its business and
 9                                property by paying more for CRT Products containing CRTs
10                                manufactured by Defendants, their co-conspirators, and others than it
11                                would have paid in the absence of Defendants and their co-
12                                conspirators' combination and conspiracy, and is therefore entitled to
13                                treble damages and costs of suit, including reasonable attorneys’ fees,
14                                pursuant to the Illinois Antitrust Act, 740 Ill. Code 10/7(2).
15           255.    By reason of the foregoing, Defendants and their co-conspirators also have
16   entered into a restraint of trade in violation of Mich. Comp. Laws §§ 445.771, et seq.:
17                            a. Defendants’     and     their   co-conspirators’   conspiracy         restrained,
18                                suppressed and/or eliminated competition in the sale of CRTs in
19                                Michigan and fixed, raised, maintained, and stabilized CRT prices in
20                                Michigan at artificially high, non-competitive levels;
21                            b. As a result, Defendants’ and their co-conspirators’ conspiracy
22                                substantially affected Michigan commerce;
23                            c. During the Relevant Period, ABC Warehouse purchased CRT
24                                Products containing price-fixed CRTs in Michigan, and, as a result,
25                                ABC Warehouse is entitled to the protection of the laws of Michigan;
26                                and
27                            d. As a direct and proximate result of Defendants’ and their co-
28                                conspirators’ conduct, ABC Warehouse has been injured in its
                                                                                            Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED              - 71 -                       Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 73 of 75



 1                                business and property by paying more for CRT Products containing
 2                                CRTs manufactured by Defendants, their co-conspirators, and others
 3                                than it would have paid in the absence of Defendants’ and their co-
 4                                conspirators’ conspiracy, and is therefore entitled to damages and the
 5                                costs of suit, including reasonable attorneys’ fees, pursuant to Mich.
 6                                Comp. Laws § 445.778(2).
 7           256.    By reason of the foregoing, Defendants and their co- conspirators also have
 8   entered into an agreement in restraint of trade in violation of New York’s Donnelly Act, N.Y.
 9   Gen. Bus. Law §§ 340, et seq.:
10                            a. Defendants’     and     their   co-conspirators’   conspiracy         restrained,
11                                suppressed and/or eliminated competition in the sale of CRTs in New
12                                York and fixed, raised, maintained and stabilized CRT prices in New
13                                York at artificially high, non-competitive levels;
14                            b. As a result, Defendants’ and their co-conspirators’ conspiracy
15                                substantially affected New York commerce;
16                            c. Beginning on December 23, 1998, P.C. Richard purchased CRT
17                                Products containing price-fixed CRT panels in New York, and, as a
18                                result, P.C. Richard is entitled to the protection of the laws of New
19                                York; and
20           257.    As a direct and proximate result of Defendants’ and their co-conspirators’
21   conduct, P.C. Richard has been injured in its business and property by paying more for CRT
22   Products containing CRT panels manufactured by Defendants, their co-conspirators, and others
23   than it would have paid in the absence of Defendants’ and their co-conspirators’ combination and
24   conspiracy, and is therefore entitled to treble damages and costs of suit, including reasonable
25   attorneys’ fees, pursuant to N.Y. Gen. Bus. Law § 340(5).
26   XI.     PRAYER FOR RELIEF
27           WHEREFORE, Plaintiffs pray that the Court enter judgment on their behalf, adjudging
28   and decreeing that:
                                                                                            Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED              - 72 -                       Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 74 of 75



 1                   A.       Defendants engaged in a contract, combination, and conspiracy in
 2   violation of Section 1 of the Sherman Act (15 U.S.C. § 1), Ariz. Rev. Stat. §§ 44-1401, et seq.,
 3   and the Illinois Antitrust Act, and that Plaintiffs were injured in their businesses and property as
 4   a result of Defendants’ violations;
 5                   B.       Plaintiffs shall recover damages sustained by them, as provided by the
 6   federal and state antitrust laws, and a joint and several judgment in favor of Plaintiffs shall be
 7   entered against the Defendants in an amount to be trebled in accordance with such laws,
 8   including Section 4 of the Clayton Act;
 9                   C.       Defendants, their subsidiaries, affiliates, successors, transferees, assignees,
10   and the respective officers, directors, partners, agents, and employees thereof, and all other
11   persons acting or claiming to act on their behalf, shall be permanently enjoined and restrained
12   from continuing and maintaining the combination, conspiracy, or agreement alleged herein;
13                   D.       Plaintiffs shall be awarded pre-judgment and post-judgment interest, and
14   such interest shall be awarded at the highest legal rate from and after the date of service of the
15   initial complaint in this action;
16                   E.       Plaintiffs shall recover its costs of this suit, including reasonable
17   attorneys’ fees as provided by law; and
18                   F.       Plaintiffs shall receive such other or further relief as may be just and proper.
19   XII.    JURY TRIAL DEMAND
20           Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand a trial by jury of all
21   the claims asserted in this Complaint so triable.
22

23

24

25

26
27

28

                                                                                           Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED             - 73 -                       Master File No. 3:07-cv-05944-SC
     COMPLAINT
     Case 4:07-cv-05944-JST Document 2279-9 Filed 12/20/13 Page 75 of 75



 1

 2

 3

 4

 5

 6

 7   Dated: December 20, 2013
 8
                                            /s/ Philip J. Iovieno
 9

10                                          Philip J. Iovieno
                                            Anne M. Nardacci
11                                          BOIES, SCHILLER & FLEXNER LLP
                                            30 South Pearl Street, 11th Floor
12                                          Albany, NY 12207
                                            Telephone: (518) 434-0600
13
                                            Facsimile: (518) 434-0665
14                                          Email: piovieno@bsfllp.com
                                                    anardacci@bsfllp.com
15
                                            William Isaacson
16                                          BOIES, SCHILLER & FLEXNER LLP
17                                          5301 Wisconsin Ave. NW, Suite 800
                                            Washington, D.C. 20015
18                                          Telephone: (202) 237-2727
                                            Facsimile: (202) 237-6131
19                                          Email: wisaacson@bsfllp.com
20
21                                          Counsel for Plaintiffs P.C. Richard & Son Long
                                            Island Corporation, MARTA Cooperative of America,
22                                          Inc., and ABC Appliance, Inc.

23
                                            .
24

25

26
27

28

                                                                             Case No. 13-cv-05725-SC
     P.C. RICHARD, ET AL.’S FIRST AMENDED   - 74 -                   Master File No. 3:07-cv-05944-SC
     COMPLAINT
